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                         EXHIBIT A
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                                                    1                                                              3
 1             HIGHLY CONFIDENTIAL                   1              APPEARANCES
 2          UNITED STATES DISTRICT COURT             2         ON BEHALF OF THE RELATORS:
 3           DISTRICT OF MASSACHUSETTS               3           LAUREN JOHN UDDEN, ESQUIRE
 4   In Re: Pharmaceutical Industry ) MDL No. 1456 4             LAW OFFICE OF LAUREN J. UDDEN
 5        Average Wholesale Price : Master File No.  5           15 West Carrillo Street
 6        Litigation          ) 1:01-CV-12257-PBS    6           Suite 101 B
 7                        ) Job Category Case        7           Santa Barbara, California 93101
 8                        ) No. 1:08-CV-11200        8           (805) 879-7544
 9   * * * * * * * * * * *:                          9
10   UNITED STATES ex rel. LINNETTE :               10         ON BEHALF OF THE RESPONDENTS BAXTER:
11   SUN and GREG HAMILTON                 :        11           J. ANDREW JACKSON, ESQUIRE
12         Relators           :                     12           RUCHI JAIN, ESQUIRE
13   v.                    :                        13           DICKSTEIN SHAPIRO LLP
14   BAXTER HEMOGLOBIN THERAPEUTICS : 14                         1825 Eye Street, Northwest
15   and BAXTER INTERNATIONAL, INC. :               15           Washington, D.C. 20006-5403
16         Respondents           :                  16           (202) 420-2200
17                    -----------                   17
18             Deposition of LINNETTE SUN           18         ALSO PRESENT: Michael J. Bolton, Esquire, Baxter
19             Philadelphia, Pennsylvania           19
20             Tuesday, January 19, 2010            20
21                 9:24 a.m.                        21
22                                                  22

                                                    2                                                              4
 1   Job No.: 54-171709                                 1               CONTENTS
 2   Pages: 1 - 163                                     2   EXAMINATION OF LINNETTE SUN                         PAGE
 3                                                      3     By Mr. Jackson                      6
 4      Deposition of Linnette Sun, held at the law     4               EXHIBITS
 5   offices of:                                        5            (Exhibits were attached.)
 6                                                      6   SUN DEPOSITION EXHIBITS                         PAGE
 7         MORGAN LEWIS & BOCKIUS LLP                   7   Exhibit 1 Deposition Notice              11
 8         1701 Market Street                           8   Exhibit 2 Objections/Responses to Baxter's
 9         Philadelphia, Pennsylvania 19103             9          First Set of Document Requests      26
10         (215) 963-5000                              10   Exhibit 3 Relators' Memorandum in Opposition
11                                                     11          to Baxter Motion to Dismiss       28
12                                                     12   Exhibit 4 Sun Declaration               33
13      Pursuant to Notice, before Dawn M. Hart,       13   Exhibit 5 Baxter Products W/AWP History
14   RPR/RMR and Notary Public in and for the State of 14          4/11/05                     34
15   Maryland.                                         15   Exhibit 6 Plasma Fractions Market US 2001        38
16                                                     16   Exhibit 7 Sun Performance Review             44
17                                                     17   Exhibit 8 Sun Termination Letter 7/22/03       50
18                                                     18   Exhibit 9 Sun Offer Letter 5/17/02         51
19                                                     19   Exhibit 10 Complaint filed 7/2005           99
20                                                     20   Exhibit 11 Hamilton Declaration            128
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 1      EXHIBITS CONTINUED                                          1      A Yes.
 2    SUN DEPOSITION EXHIBITS           PAGE                        2      Q And if you ever have a situation where you
 3    Exhibit 12 Letter 4/22/05  142                                3   don't understand a question that I ask, please let me
 4    Exhibit 13 AWP Summary        143                             4   know that because I will presume you've understood it
 5    Exhibit 14 Draft Complaint  146                               5   and we'll take your answer accordingly. Do you
 6                                                                  6   understand that?
 7                                                                  7      A Yes.
 8                                                                  8      Q Are you on any medication or other drugs
 9                                                                  9   that might impair your ability to understand what I'm
10                                                                 10   saying and give an accurate, complete, and honest
11                                                                 11   answer?
12                                                                 12      A No, I don't have -- I'm not on any
13                                                                 13   medications.
14                                                                 14      Q Okay.
15                                                                 15      A I should be able to understand.
16                                                                 16      Q And I do require verbal responses, so
17                                                                 17   shaking your head up or down or to the side won't help
18                                                                 18   me, so I might ask you to either speak up or answer
19                                                                 19   more directly. Do you understand that?
20                                                                 20      A Yes.
21                                                                 21          MR. UDDEN: And that's because the Reporter
22                                                                 22   can only take down basically verbal responses, so it's

                                                               6                                                             8
 1              PROCEEDINGS                                         1   important that we get a good record.
 2                LINNETTE SUN                                      2       Q The purpose of this deposition is limited to
 3      having been duly sworn by agreement of counsel,             3   jurisdictional issues in conjunction with the Motion
 4   testified as follows:                                          4   to Dismiss filed by Baxter. Did you know that?
 5   EXAMINATION BY COUNSEL FOR THE RESPONDENTS BAXTER              5       A Yes.
 6   BY MR. JACKSON:                                                6       Q So we are limiting our questions today to
 7      Q Please state your name for the record.                    7   those jurisdictional issues, but we reserve the right
 8      A Linnette Sun.                                             8   should the Complaint not be dismissed to take the
 9      Q Ms. Sun, my name is Andy Jackson. To my                   9   deposition on substantive issues.
10 right is Ruchi Jain. To Ruchi's right is Michael                10          MR. UDDEN: (Nods head.)
11 Bolton. We represent Baxter in the matter of In Re              11       Q Also we'd like to designate this deposition
12 Pharmaceutical Industry Average Wholesale Price, the            12   as highly confidential under the Protective Order
13 matter that you filed that was then transferred to the          13   issued in the MDL 1456 that is subject to all matters
14 MDL in Boston. Do you understand that?                          14   being litigated before Judge Saris. Do you understand
15      A Uh-huh.                                                  15   that?
16      Q Have you ever been deposed before?                       16          MR. UDDEN: She's probably not familiar with
17      A No.                                                      17   the Protective Order. I can talk to her about it on a
18      Q During the course of this deposition I'll be             18   break or something.
19 asking you a series of questions. Your counsel to               19          MR. JACKSON: That's fine. I just want to
20 your left might object. Unless he instructs you not             20   make sure for the record, it's important that we
21 to answer a question, you go ahead and answer my                21   designate this early.
22 question. Do you understand that?                               22

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 1   BY MR. JACKSON:                                       1      know, a few additional documents I sent to you.
 2      Q Do you have any questions of me?                 2         Q Let me show you what's been marked as
 3      A I don't think so.                                3      Deposition Exhibit 1.
 4      Q Did you review any documents in preparation 4                 (Exhibit 1 was marked for identification and
 5   for your deposition today?                            5      was attached to the transcript.)
 6      A Yes.                                             6      BY MR. JACKSON:
 7      Q What did you review?                             7         Q Deposition Exhibit 1 is the Deposition
 8      A What's filed with the Court, I think. I          8      Notice served on you for today's deposition. Have you
 9   brought them with me.                                 9      seen this document before?
10      Q What document are you referring to?             10         A Yes.
11      A (Handing.)                                      11         Q Did you review it in advance of this
12         MR. UDDEN: Yeah, you can just give him -- 12           deposition?
13         THE WITNESS: The whole thing?                  13            MR. UDDEN: In advance I guess means any
14         MR. UDDEN: Part --                             14      time before today?
15      A Yes, part of the deposition and this one.       15            MR. JACKSON: Correct.
16         (Handing.)                                     16         A Review what kinds of things?
17      Q So you're referring to the Memorandum in        17         Q This document. Have you seen this before?
18   Opposition to Baxter International, Inc.'s Motion to 18            MR. UDDEN: Review sometimes is a term
19   Dismiss Relators' Complaint?                         19      lawyers use. Basically did you read --
20      A Uh-huh.                                         20         A What documents did I read?
21      Q Together with the Declaration that you          21         Q The document in front of you that is
22   signed; is that correct?                             22      Deposition Exhibit 1.

                                                        10                                                           12
 1      A Uh-huh.                                             1       A This one, (indicating). Yes.
 2          MR. UDDEN: And you have to say yes.               2       Q You're appearing today in response to that
 3      A Okay. Yes.                                          3   Deposition Exhibit 1, the Deposition Notice, correct?
 4      Q Did you also review the Declaration of              4       A Yes.
 5   Mr. Hamilton that was attached to this same document?    5       Q Ms. Sun, did you talk with Mr. Hamilton in
 6      A Today you mean?                                     6   advance, in preparation for today's deposition?
 7      Q Yes.                                                7       A Yes, we had a conference call.
 8      A Not today.                                          8           MR. UDDEN: Yeah --
 9      Q In preparation for this deposition, did you         9       A Not directly.
10   review Mr. Hamilton's Declaration?                      10           MR. UDDEN: Yeah, I would object to any --
11      A I read that before, but not for -- to              11   it -- the communication Ms. Sun is referring to is a
12   prepare for this, no.                                   12   communication that included her lawyers, so --
13      Q But you have read it before?                       13           MR. JACKSON: Okay.
14      A Yeah.                                              14           MR. UDDEN: I think you're asking about any
15      Q Did you review any other documents other           15   separate conversation that you may have had with Mr.
16   than that pleading with its Exhibits in preparation     16   Hamilton.
17   for this deposition?                                    17       A No, never.
18      A You have the documents.                            18           MR. JACKSON: Correct.
19          MR. UDDEN: He's asking you if there are any      19       Q So the only conversation you had with Mr.
20   other papers or documents of any kind that you          20   Hamilton in preparation for this deposition included
21   reviewed in preparation for the deposition.             21   your lawyer?
22          THE WITNESS: I don't think so, except, you       22       A Yeah.

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 1       Q Okay. When did you first meet Mr. Hamilton?       1       Q I don't need to understand the substance of
 2       A When? Quite a few years ago, I think.             2   the communications, what you said to your lawyer or
 3       Q Do you remember when you left, when you were      3   what you said -- or your lawyer said to you.
 4   terminated from Baxter? Do you remember what year       4       A Uh-huh.
 5   that was?                                               5       Q But I need to know how is it you met Mr.
 6       A I think on the latter half of 2003.               6   Hamilton for the first time, and then we're going to
 7       Q 2003. Had you met Mr. Hamilton prior to           7   talk about communications that you and he had --
 8   leaving Baxter?                                         8       A Uh-huh.
 9       A No.                                               9       Q -- in the absence of lawyers.
10       Q Okay. Your Complaint was filed when, do you      10       A Uh-huh. Okay.
11   remember, in this matter?                              11       Q Okay. So how did you and he first meet?
12       A Just approximately because it has been quite     12       A Through attorneys.
13   a few years.                                           13       Q And what -- when was that?
14       Q That's fine. What do you remember?               14       A I can't remember exact date either. So it's
15       A Probably sometime 2005.                          15   sometime between, I think sometime 2004, 2005.
16       Q When was the first time when you met Mr.         16       Q Your Amended Complaint in the matter was
17   Hamilton between 2003 when you left Baxter and 2005    17   filed on or about June 14, 2005. Does that sound
18   when you filed your Complaint in this matter?          18   about right?
19       A I can't remember exact dates, but I think        19       A Yes.
20   it's sometime in 2004. I can't remember exactly.       20       Q So does that help you gauge when you first
21       Q Can you tell me how you came to meet Mr.         21   met Mr. Hamilton? Was it a month before the date of
22   Hamilton?                                              22   your Complaint, was it a year before the date of your

                                                       14                                                            16
 1       A How I came to know him? I heard of him            1   Complaint?
 2   before even when I was working at Baxter.               2       A Definitely not the day before the Complaint.
 3       Q How did you hear about him?                       3   I can't remember exact time again because it's been so
 4       A Because he was quite an expert in the field.      4   long. At least quite a few months or even longer than
 5       Q Which field?                                      5   that.
 6       A Pharmaceutical pricing, particularly pricing      6       Q And did you provide Mr. Hamilton information
 7   for recombinant products.                               7   regarding your employment at Baxter?
 8       Q Okay. So did you contact him directly the         8       A No.
 9   first time you had communications?                      9       Q Why did you contact him then?
10       A No.                                              10          MR. UDDEN: Well, again, I think it assumes
11       Q Did he contact you?                              11   facts not in evidence, that she contacted him.
12       A No.                                              12       Q Have you ever met in person with Mr.
13       Q How was the contact made between you and he?     13   Hamilton?
14       A I guess I have to refer to my attorneys.         14       A Yes.
15           MR. UDDEN: (Nods head.)                        15       Q How many times?
16       Q How was the contact made between you and he?     16       A Two or three.
17           MR. UDDEN: I think she's hesitating because    17          MR. UDDEN: Just give him your best
18   I think it was through her attorneys.                  18   recollection.
19           THE WITNESS: Right.                            19       A I think maybe two.
20           MR. UDDEN: And she's concerned about           20       Q And did you give him any documents in either
21   privileged communications, but --                      21   of those meetings that were in your possession and
22       A Yeah.                                            22   control?


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 1      A No.                                           1          in connection with the sharing of any payments or
 2      Q Did he give you any documents?                2          judgments that might arise from this Complaint?
 3      A No.                                           3              A Again, I have to refer this to attorney. I
 4      Q And just for the record, you did not know     4          cannot really address this question.
 5   him while you were at Baxter; is that correct?     5              Q Do you know whether there is an agreement
 6      A Uh-huh. Yes.                                  6          between you and Mr. Hamilton to share some kind of
 7      Q And you had --                                7          fees or judgment that might come out of this action?
 8          Yes?                                        8              A I have to refer this to my attorney again.
 9      A Uh-huh.                                       9              Q Is that because you know, or you do not
10      Q And you had not -- had no conversations with 10          know?
11   him until after you left Baxter; is that correct? 11              A Yes, I know.
12      A Yes.                                         12              Q Okay. What's the answer?
13      Q How did you come to file a Complaint         13                 MR. UDDEN: Well, again, I think the reason
14   together?                                         14          she's referring to attorneys is because it would
15      A I don't quite understand your question.      15          involve privileged communications for her to answer
16   What does that mean how?                          16          that question.
17      Q How. You worked at Baxter, correct?          17                 THE WITNESS: Yeah.
18      A Uh-huh.                                      18                 MR. JACKSON: Well, I disagree that an
19      Q To your knowledge, Mr. Hamilton did not; is  19          agreement between one Relator and another Relator to
20   that correct?                                     20          share fees, I disagree that that's privileged. Now if
21      A Yes.                                         21          you're instructing the witness not to answer that on
22      Q You did not meet him while you had worked at 22          the basis of privilege, just let me know that, and

                                                         18                                                           20
 1   Baxter, correct?                                          1   instruct her that, and we'll deal with that later.
 2       A Yes.                                                2          MS. BOURKE: Maybe that will be the easiest
 3       Q You did not meet him until sometime -- some         3   way for me to do that, then. I'll just instruct her
 4   months before the Complaint was filed in 2005; is that    4   not to answer on the basis of privilege.
 5   correct?                                                  5   BY MR. JACKSON:
 6       A Yes.                                                6      Q Have you seen such a document between you
 7       Q So my question is how is it that you and Mr.        7   and Mr. Hamilton?
 8   Hamilton determined to file a Complaint together?         8      A Yes.
 9          MR. UDDEN: And again, I would just, you            9      Q Can you tell me how long the document is?
10   know, if you have any information you can provide that   10      A I cannot remember really how long because
11   is not the result of attorney/client communications,     11   I've seen so many documents.
12   you can give that. Otherwise just answer the best you    12      Q Can you tell me how long it is? Is it two
13   can.                                                     13   pages, is it 22 pages?
14       A I mean I didn't organize this, so --               14      A Definitely not two or 24.
15       Q Who did?                                           15      Q Somewhere in between?
16       A It was just my Complaint. I mean, I don't          16      A Yeah, I would think so.
17   really know how to answer this question to tell the      17      Q Did you execute such a document? Did you
18   truth.                                                   18   sign such an agreement?
19       Q Why?                                               19      A Yes.
20       A It's really between the attorney and us,           20      Q Do you remember when you signed that
21   so --                                                    21   agreement?
22       Q Do you and Mr. Hamilton have any agreements        22      A When?

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 1       Q Yes, ma'am.                                       1    terminated?
 2       A I can't remember.                                 2       A Retain means intentionally or --
 3       Q Close in time to the time you filed the           3       Q Intentionally or accidentally. Did you take
 4   Complaint?                                              4    with you any Baxter documents?
 5       A I cannot remember, really.                        5       A I didn't take with me. I didn't take with
 6       Q Did Mr. Hamilton ever provide you any             6    me any document, but I had some documents at home
 7   documents prior to the date the Complaint was filed? 7       because working at home sometimes before.
 8       A I don't remember any.                             8       Q And what kind of documents did you have at
 9       Q Did you know Mr. Hamilton at all                  9    home?
10   professionally or privately before you met him for the 10       A Big binder with all the market research
11   first time in 2004, 2005?                              11    findings, price research findings.
12       A No.                                              12       Q Pricing research findings?
13       Q Did Mr. Hamilton contact you initially? Did 13            A Yeah.
14   he solicit your assistance with any case like we've    14       Q What do you mean by pricing research
15   filed here?                                            15    findings?
16       A I don't think so.                                16       A This was a document given to me by John Park
17       Q But you don't know how the two of you came 17          who was the Global Product Director, and he give this
18   to meet, save for through attorneys; is that correct?  18    big binder to me and told me to guard it with my life.
19       A I really have to understand this question        19    He was joking, I hope. He said it was extremely
20   better. Can you --                                     20    confidential. We use it for pricing and to see how
21       Q Sure. I'm trying to understand how you and       21    economy -- economic incentives or margins drive market
22   Mr. Hamilton first came to meet each other, and you 22       share. I think that's the copy I had at home because


                                                        22                                                             24
 1   indicated that it was after you left Baxter?             1   I worked and reviewed the documents before for my
 2      A Uh-huh.                                             2   pricing recommendations.
 3      Q Is that correct?                                    3      Q Do you still have that document, that set of
 4      A Uh-huh.                                             4   documents?
 5      Q It was sometime before you filed the                5      A Yes, I think so, but I give, give them to my
 6   Complaint in this matter; is that correct?               6   attorney.
 7      A Yes.                                                7      Q Do those documents relate in any way to the
 8      Q Sometime a few months before, correct?              8   pricing of Baxter products?
 9      A I can't remember exact dates, really.               9      A Yes.
10      Q And I think you indicated that you've only         10      Q Do they relate in any way to AWP or list
11   met with him a couple of times; is that correct?        11   price identified for --
12      A Uh-huh, (nods head).                               12      A Yes.
13      Q Yes?                                               13      Q Have you produced those documents?
14      A Uh-huh. Yes.                                       14      A What does that mean, produce?
15         MR. UDDEN: Yes.                                   15      Q Have you given them to me either directly or
16      Q And while you were at Baxter from the 2002         16   through your lawyer?
17   to 2003 time period, that 13-month time period, you     17      A To you? I think just, okay, the Declaration
18   and Mr. Hamilton had no communications; is that         18   you have, motion, whatever --
19   correct?                                                19      Q Yes.
20      A Correct.                                           20      A -- you already have the documents.
21      Q Ms. Sun, when you left Baxter, did you             21      Q Ms. Sun, were you aware that so far except
22   remove or retain any Baxter documents after you were    22   for this morning you've produced only two documents to


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 1   Baxter in the context of this litigation?                 1   produced to us?
 2      A Could you repeat?                                    2      A Not to you yet? But --
 3         MR. JACKSON: Could you re-read that                 3      Q Correct.
 4   sentence, please?                                         4      A But you talked about it in your Dismissal,
 5         (Record read.)                                      5   whatever, I think.
 6      A Yes.                                                 6          MR. UDDEN: He's just asking you whether you
 7      Q That's it, just two documents.                       7   know if that's been produced to the attorneys for
 8      A What does that mean, two documents? I give           8   Baxter or not. Do you know that?
 9   you whole binder.                                         9      A I don't know, but you referred in your --
10         MR. UDDEN: Well, again, you didn't give            10      Q Show me in -- you're now looking at your
11   them anything. You gave certain documents to your        11   Memorandum in Opposition to our Motion to Dismiss; is
12   attorney.                                                12   that correct?
13      A To my attorneys.                                    13      A (Reviewing.)
14      Q And you believe --                                  14          THE WITNESS: This one is the right Mark,
15         MR. JACKSON: Have all those documents been         15   right?
16   produced?                                                16          MR. UDDEN: Uh-huh.
17         MR. UDDEN: You know, I'm not sure which            17      A Yeah. You refer to like 16 (inaudible) copy
18   ones she's referring to so I really don't know. Mr.      18   or something like that.
19   Kleiman has been primarily handling the production of    19          MR. UDDEN: You're talking about in here?
20   documents, so --                                         20          THE WITNESS: Yeah, in here it says 16,
21   BY MR. JACKSON:                                          21   and --
22      Q Ms. Sun, let me show you what's been marked         22

                                                         26                                                             28
 1   as Deposition Exhibit 2.                                  1   BY MR. JACKSON:
 2          (Exhibit 2 was marked for identification and       2      Q Ms. Sun, let me make this easier for you.
 3   was attached to the transcript.)                          3      A Yeah.
 4   BY MR. JACKSON:                                           4      Q Let me show you what's been marked as
 5      Q Deposition Exhibit 2 are your Objections and         5   Deposition Exhibit 3.
 6   Responses to Baxter International, Inc.'s first set of    6         (Exhibit 3 was marked for identification and
 7   Requests for Production of Documents.                     7   was attached to the transcript.)
 8      A Uh-huh.                                              8      A Is this Exhibit 3?
 9      Q Have you ever seen this document before?             9   BY MR. JACKSON:
10      A I think so.                                         10      Q Have you ever seen that document before, the
11      Q Now, we were talking about a -- was it a            11   document that I just handed you, Deposition Exhibit 3?
12   notebook of documents that you had in your possession,   12      A (Reviewing.)
13   the pricing documents that you mentioned?                13         THE WITNESS: This is what's in here, right
14      A Yeah. I think as thick as what you have             14   (indicating)?
15   there, (indicating). It's pretty thick.                  15         MR. UDDEN: Yeah.
16      Q For the record, you're referring to a               16      A Yeah, I think so.
17   three-ring binder on the desk in front of me that's      17      Q Deposition Exhibit 3 is the Memorandum in
18   approximately three inches thick?                        18   Opposition to Baxter International, Inc.'s Motion to
19      A I wouldn't say whether it's two or three            19   Dismiss Relators' Complaint. Do you see that?
20   inches, I don't know, but it's pretty thick.             20      A This one, (indicating)?
21      Q Pretty thick, I understand. Were you aware          21      Q Yes.
22   that that document or set of documents has not been      22      A Yes.

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 1      Q Now, is that the same document that you have          1       A Yes.
 2   on the table in front of you that you brought with you     2       Q Was it a single report?
 3   today?                                                     3       A Has multiple years.
 4      A I need to see.                                        4       Q But was it a single report that has multiple
 5         (Reviewing.)                                         5   years?
 6         Yeah, uh-huh.                                        6       A Possibly.
 7      Q You now seem to indicate that something in            7       Q Is it a single report created by a single
 8   that document is -- references the notebook of             8   third-party entity, not Baxter?
 9   documents.                                                 9       A I don't know what kind of role Baxter played
10      A Right.                                               10   in that. Usually there should be project manager
11      Q Can you find that for me in Deposition               11   working with the market research and there's some kind
12   Exhibit 3?                                                12   of confidentiality agreement. So I wouldn't come to
13      A (Reviewing.)                                         13   the conclusion like outside or inside who made it.
14         Yeah, it's like news media reports.                 14       Q But you don't know, is that correct, sitting
15      Q What page?                                           15   here today what that report contains?
16      A On Page 5.                                           16       A I know what that report contains.
17      Q Okay. So are you suggesting that your                17       Q What's it contain?
18   notebook had news media reports in it?                    18       A It contains pricing information, AWP,
19      A It's not in news media reports. It's                 19   contracting price, margins, margins related to market
20   pricing research --                                       20   share.
21      Q Okay.                                                21       Q What drugs?
22      A -- results.                                          22       A Oh, blood products.


                                                          30                                                             32
1      Q Who did the research, do you know?                 1           Q Say that again. I didn't understand your
2       A An outside company. I can't remember exact        2       answer.
3    name.                                                  3           A Like most of the blood products.
4       Q Was it the Marketing Research Bureau report       4              MR. UDDEN: Blood products.
5    that's referred to on Page 5 of Deposition Exhibit 3?  5           A Yeah, like Recombinate and plasma products
6       A Unless I have the report I cannot tell exact      6       and, you know, the products Baxter Bioscience Division
7    name of the company.                                   7       is engaged in selling.
8       Q Might it be a pricing report from a               8              MR. JACKSON: Okay. Obviously we request a
9    consultant called Simon-Kucher?                        9       copy of those documents and would like to keep the
10      A Could be.                                        10       deposition open if in fact those are documents we've
11      Q You just don't remember?                         11       not previously seen.
12      A There should be two in that case; one from       12              MR. UDDEN: I apologize. I don't know what
13   another company, one from Simon-Kucher. Simon-Kucher 13        the status of those are.
14   Baxter paid, according to John Park, a million to do  14       BY MR. JACKSON:
15   that, which was also wrong, I think. I don't have     15           Q Did you provide that document to your
16   possession of that.                                   16       lawyers, or to Mr. Hamilton?
17      Q Let's back up. I'm trying to understand          17           A To lawyers.
18   what the documents are you're referring to that is    18           Q And you provided those documents to Mr.
19   about a binder full of documents that you had in your 19       Kleiman; is that correct?
20   possession but that I don't believe has been produced 20           A Yes.
21   to us yet, okay? I believe you testified that it was  21           Q Do you remember when you provided those
22   some kind of pricing research?                        22       documents to him?


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 1      A Again, quite a few years now.                       1       Q I'm asking only if you recognize this
 2      Q Show you what's been marked as Deposition           2    document in this form.
 3   Exhibit 4.                                               3       A In this form?
 4          (Exhibit 4 was marked for identification and      4       Q Yes.
 5   was attached to the transcript.)                         5       A Really I can't remember because having so
 6      A Yes.                                                6    many documents exchanged between my attorneys and me,
 7   BY MR. JACKSON:                                          7    and I've seen so many Baxter documents before, so I
 8      Q Deposition Exhibit 4 is your Declaration            8    can't tell you exactly what I have seen, whether I
 9   that you attached to the Opposition to the Motion to      9 have seen it or not, but this kind of format, I'm
10   Dismiss, correct?                                        10 familiar with.
11      A Yes.                                                11   Q Did you create this document, do you
12      Q Have you turn to Paragraph 10, please.              12 believe?
13      A (Complying.)                                        13      A I don't think so.
14      Q Paragraph 10, third or fourth sentence down         14      Q Do you have any idea where it came from?
15   says, this document was only distributed within a very   15      A Could be a formulary decision, could be a
16   limited group of people. Not everyone in the pricing     16 pricing document, could be in the contract. No.
17   core group received it, but I was one of the             17    Q Which contract?
18   individuals who received it. John Park stressed how      18    A Like, you know, any companies can have a
19   confidential this document was. I have a copy of this    19 product contract with a third party. It can -- it
20   document.                                                20 could be an attachment, you know.
21          Do you see that language?                         21      Q Ms. Sun, I understand, but it sounds to me
22      A Yes.                                                22 as though you're guessing right now.


                                                         34                                                                   36
 1      Q Is that the same document you've been                1      A Not guessing. I'm just giving you what I
 2   referring to --                                           2   think this document could possibly be.
 3      A Yes.                                                 3      Q But you don't know what it is, nor do you
 4      Q -- this binder of documents --                       4   know where it came from; is that accurate?
 5      A Uh-huh.                                              5      A I don't think I don't know. I know it could
 6      Q -- that you gave to Mr. Kleiman?                     6   possibly come from these sources.
 7      A Uh-huh.                                              7      Q But you don't know where it came from?
 8      Q Thank you.                                           8      A From this one, no, I don't know where it's
 9          Let me show you what's been marked as              9   extracted from.
10   Deposition Exhibit 5.                                    10      Q Were you aware that this document was one of
11          (Exhibit 5 was marked for identification and      11   only two documents that were produced by your lawyers
12   was attached to the transcript.)                         12   to us in conjunction with the Document Request; were
13   BY MR. JACKSON:                                          13   you aware of that?
14      Q Ms. Sun, Deposition Exhibit 5 is a document         14      A No.
15   entitled Baxter Products W/AWP History 4/11/05. You      15      Q And let me have you flip through Deposition
16   see that?                                                16   Exhibit 5 again, please.
17      A Yes.                                                17      A Uh-huh.
18      Q You ever seen this document before?                 18          (Complying.)
19      A I don't know whether it's a separate                19          Yeah. This also could come from
20   document. I don't know whether it could be part of       20   reimbursement, reimbursement document issued by the,
21   the, you know, big binder I have. I cannot remember      21   you know, like pricing database, probably First Data
22   every page.                                              22   Bank to a wholesaler, to a pharmacy.


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 1      Q But you're -- again, you're -- that's               1       A Yes.
 2   conjecture. You're guessing about where this document    2       Q When did you first see this document that is
 3   came from, correct?                                      3   Deposition Exhibit 6?
 4         MR. UDDEN: He's talking about this actual          4       A When I was pricing for the blockbuster at
 5   document --                                              5   Baxter.
 6      Q This actual document.                               6       Q The blockbuster?
 7         MR. UDDEN: -- not necessarily this type of         7       A Yeah.
 8   document.                                                8       Q What's the blockbuster?
 9         THE WITNESS: Okay.                                 9       A Advate.
10         MR. UDDEN: Yeah.                                  10       Q And we'll get to this --
11      A No.                                                11       A Uh-huh.
12      Q Deposition Exhibit 5.                              12       Q -- Ms. Sun, but in your Declaration at
13      A No, I'm not so sure which source.                  13   Deposition Exhibit 4, in a variety of paragraphs, 5,
14      Q You don't know where this came from?               14   6, and 7, it seems your principal involvement during
15      A Uh-huh.                                            15   your employment with Baxter was Advate; is that
16      Q But do you believe you drafted this                16   correct?
17   document? Is this something you ever remember           17       A No.
18   preparing?                                              18       Q No?
19      A No, I didn't draft it.                             19       A Uh-huh.
20      Q Do you have any idea why it's dated April          20       Q That's what you said.
21   11, 2005, nearly two years after you left Baxter?       21       A No, I said my primary responsibility was
22         MR. UDDEN: Referring to up here                   22   pricing, but for all Baxter products, pharmaceutical

                                                        38                                                            40
 1   (indicating).                                            1   products. Advate we were having -- it was the
 2       A Yeah, could you repeat your question?              2   priority for the division. They were -- that's why I
 3          MR. JACKSON: Can you read back the                3   spent most of my time on pricing this product.
 4   question, please?                                        4      Q Thank you. All right. So let's get back to
 5          (Record read.)                                    5   Deposition Exhibit 6.
 6       A No.                                                6          Now, is Deposition Exhibit 6 the binder of
 7          (Exhibit 6 was marked for identification and      7   documents that you identified earlier that you had not
 8   was attached to the transcript.)                         8   produced so far to me today but you think this is the
 9   BY MR. JACKSON:                                          9   document that you had in your files?
10       Q Let me show you what's been marked as             10      A Yes.
11   Deposition Exhibit 6.                                   11      Q Is there anything more than this?
12       A Yeah, that's the big binder I was referring       12      A I don't think so, but -- I can't read
13   to, I think.                                            13   through the whole pages right now to see if there's
14       Q Ms. Sun, Deposition Exhibit 6 is a document       14   any pages missing, but I don't think so. It's about
15   entitled The Plasma Fractions Market in the United      15   this thickness with the binder.
16   States 2001.                                            16      Q And is Deposition Exhibit 6 the document you
17       A Uh-huh.                                           17   were referring to in Paragraph 10 of your Declaration
18       Q At the bottom it's dated 2002. The Bates          18   about this --
19   numbers for this document are GH 001527 through         19      A Yes.
20   GH 001744.                                              20      Q -- copy of the document you kept?
21       A Uh-huh.                                           21      A Uh-huh.
22       Q Have you ever seen this before?                   22      Q Other than Deposition Exhibit 6, were there

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 1   any other documents that you maintained when you left    1   of any of the states that are identified in your
 2   Baxter?                                                  2   Complaint?
 3       A No.                                                3       A Again, cannot remember whether it's prior or
 4       Q And how did you come to have Deposition            4   after, but I did meet some State's Attorneys.
 5   Exhibit 6 again?                                         5       Q When did that occur?
 6       A John Park who was the lead of the core             6       A I can't remember, it's been so long now, you
 7   pricing group, Product -- Global Product Director, he    7   know, but sometime around then.
 8   gave this to me and told me to guard it with my life.    8       Q But you can't be sure whether it was before
 9   Very confidential.                                       9   or after the Complaint was filed?
10       Q Understood. Did you ever provide the              10       A Yeah, uh-huh.
11   document that is Deposition Exhibit 6 to Mr. Hamilton   11       Q Are there any other documents in your
12   in advance of filing your Complaint in the matter?      12   possession that are responsive to the Document Request
13       A Again, I can't remember, but I don't think        13   served on you by Baxter other than the ones we've
14   so.                                                     14   mentioned today, that is Deposition Exhibit 5 and
15       Q Okay. Ms. Sun, prior to the date that you         15   Deposition Exhibit 6?
16   filed your Complaint in the matter, did you have any    16       A And the few documents I give to you this
17   meetings with Justice Department lawyers?               17   morning --
18       A Again, it has been so long ago, but I think       18       Q Oh, yes.
19   so.                                                     19       A -- related to my employment and specifically
20       Q Do you remember any of their names?               20   told you what I did while I was at Baxter if you look
21       A I can't -- maybe Justin or something.             21   at the performance review.
22          MR. UDDEN: You just give --                      22       Q Let me show you what's been marked as

                                                        42                                                             44
 1      A Quite a few.                                        1   Deposition Exhibit 7.
 2        MR. UDDEN: Answer the question for --               2          (Exhibit 7 was marked for identification and
 3      A Quite a few.                                        3   was attached to the transcript.)
 4      Q Mr. Tice, was he one?                               4   BY MR. JACKSON:
 5      A What's his first name?                              5      Q Exhibit 7 is a document that was produced to
 6      Q Michael.                                            6   us this morning by your counsel.
 7      A Yeah, the name sounds familiar to me, but           7      A Uh-huh.
 8   I'm not so sure whether he's a U.S. Attorney or not,     8      Q What is this document?
 9   you know.                                                9      A Uh-huh.
10      Q You used the word Justin?                          10      Q What is this?
11      A Yeah.                                              11      A This is my performance review.
12      Q Do you remember the last name?                     12      Q For?
13      A No.                                                13          MR. UDDEN: This is just part of it.
14      Q Dracott?                                           14      A Part of it.
15      A Yeah.                                              15          MR. UDDEN: Because this is actually 15
16      Q Yes?                                               16   pages, and this is 7 through 15.
17      A I think so.                                        17      A Yes, this is on the company's website, so --
18      Q And in Colorado, or in Washington, D.C.?           18      Q So this came from the company's website?
19   Where did you talk with him?                            19      A Yeah.
20      A Colorado, I think.                                 20      Q When did you print this?
21      Q And prior to the date you filed your               21      A When? After the performance review was
22   Complaint, did you also meet with any representatives   22   done, employees could print out copy for themselves.

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 1       Q Okay. So this would have been sometime               1       Q Do you remember when Advate was launched?
 2   before you left, then?                                     2       A I think right after I left.
 3       A Yes. I think there are two or three                  3       Q So Advate was not launched until after you
 4   performance reviews there. Every six months we did a       4   left Baxter?
 5   performance review and tell you specifically what you      5       A Yeah.
 6   did at company. And you could see I was engaged in         6       Q Correct?
 7   all those pricing, submission of price, economic           7       A Maybe around, right around there. I can't
 8   modeling, reimbursement both globally and in the U.S.      8   remember for sure.
 9   for Advate and other products.                             9       Q Do you remember when it received FDA
10       Q Show me where you're referring to that              10   approval?
11   describes that, your responsibilities.                    11       A Approval -- approval was, I think probably a
12       A If you look at Advate, the first one,               12   few months before it was launched.
13   Advate, it's the blockbuster, largest product right       13       Q And do you remember when the first sales of
14   now for Baxter. It's Advate reimbursement dossier.        14   Advate occurred?
15   That dossier would include all the pricing information    15       A Has to be in 2005.
16   and how you justify the price and make submissions.       16       Q In 2005?
17       Q For Advate?                                         17       A Yeah.
18       A For Advate.                                         18       Q So you had been gone from the company for
19       Q So that was your responsibility for the time        19   more than two years?
20   period January 2003 to December 31, 2003?                 20       A Yeah, but I set the price together with the
21       A That's just one of them.                            21   core pricing group.
22       Q Okay. What are the other drugs? I mean if           22       Q Understood. Okay. Can you go through the

                                                          46                                                                   48
 1   you look --                                               1    rest of Deposition Exhibit 7 and explain to me your
 2       A Then I also served on the Review Board.             2    other responsibilities?
 3       Q Where is that?                                      3       A Yeah.
 4       A First sentence. Complete reimbursement              4         MR. UDDEN: Let him finish.
 5   dossier, serve on Review Board --                         5          THE WITNESS: I'm sorry.
 6       Q Review Board --                                     6       A And if you move on to the next one, still on
 7       A -- pricing reimbursement.                           7    the same page, which also refers to Medicare
 8       Q -- for what drugs?                                  8    reimbursement, reimbursement product pricing
 9       A For Advate.                                         9  submissions and utilization.
10       Q For Advate, okay.                                   10    Q Which reimbursement product pricing
11       A Then you can also see the second objective          11 submissions did you work on?
12   is also for Advate. And --                                12      A Quite a few.
13       Q You're referring to Page 2 of 12 --                 13      Q Which?
14       A Right.                                              14      A Advate is one of them, ARALAST. There are
15       Q -- of Deposition Exhibit 7?                         15 couple of others, but I can't remember the name
16       A And you can see Advate including billing            16 exactly. But Advate, ARALAST were the newer products,
17   guide, which is the pricing billing guide; payor          17 so --
18   notification letter, which is to the Medicare and         18    Q Can you go to Page 3?
19   Medicaid, and all these other things, reimbursement       19         Is there anything on Page 3?
20   and the product launch.                                   20      A Yeah. If you see Page 3, it says design/
21       Q The product launch?                                 21 conduct pricing assessment and price elasticity
22       A Yeah.                                               22 analysis, which is one of the things, this big, this


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 1   report, pricing assessment, and there's Simon-Kucher     1          (Exhibit 9 was marked for identification and
 2   pricing research. In the U.S. we paid over million       2   was attached to the transcript.)
 3   dollars and also in Canada.                              3   BY MR. JACKSON:
 4          And then you can also see on the, this page       4       Q Deposition Exhibit 9 is a May 17, 2002
 5   there's ARALAST. That's under the COPD product, I        5   letter from Baxter to Linnette Sun.
 6   think, and pricing recommendation.                       6       A Uh-huh.
 7      Q All right. Can I have you turn to Page 4?           7       Q This document was produced to us this
 8      A Page 4.                                             8   morning at approximately 9:30 for the first time.
 9      Q Page 4 looks to me as if it describes your          9   What is this document, Deposition Exhibit 9?
10   involvement with ARALAST pricing --                     10       A This is an offer letter, and they offered me
11      A Yes.                                               11   the position of Director of Pharmaco-economics.
12      Q -- correct?                                        12       Q Other than these three documents that you
13      A Uh-huh.                                            13   produced this morning and the document that is
14      Q Okay. Page 5?                                      14   Deposition Exhibit 6, the pricing document you
15      A Page 5, again, is ARALAST. Because ARALAST         15   referred to earlier, do you have any other Baxter
16   happened to be before Advate, there were more actions   16   documents within your possession or control?
17   on this product.                                        17       A I don't think so.
18      Q I noticed that the flu vaccine is mentioned        18       Q Ms. Sun, let me back up a little bit. Can
19   on Pages 5 --                                           19   you tell me about your education, please? Work
20      A Right.                                             20   backwards from your highest degree back through your
21      Q -- and 6. I'm looking at the top                   21   entry-level college degree.
22   right-hand --                                           22       A I'm actually an ABD, all but dissertation,

                                                        50                                                            52
 1       A Yeah. It's also big for Baxter at the time.        1   in communication/public policy from Annenberg School.
 2       Q Your lawsuit does not seek any damages             2      Q From what?
 3   relating to flu vaccine; is that correct?                3      A Annenberg School, University of
 4       A No, because flu vaccine is reimbursed in a         4   Pennsylvania.
 5   different way.                                           5      Q So that means you've completed your Ph.D.
 6       Q Okay.                                              6   studies, but you haven't completed your thesis?
 7       A Okay, yeah.                                        7      A Right, yeah.
 8       Q Show you what's been marked as Deposition          8      Q Okay.
 9   Exhibit 8.                                               9      A And then I also got a Master's degree from
10           (Exhibit 8 was marked for identification and    10   the same program, I think in 1989.
11   was attached to the transcript.)                        11      Q Okay.
12   BY MR. JACKSON:                                         12      A And before that I received a degree in
13       Q Deposition Exhibit 8 is a July 22, 2003           13   communication from China, University of Shanghai, and
14   letter from Baxter to you. Deposition Exhibit 8 was     14   I came here on a full-price scholarship in 1986.
15   produced to us this morning for the first time.         15      Q 1986?
16       A Uh-huh.                                           16      A Uh-huh.
17       Q What is Deposition Exhibit 8?                     17      Q Have you ever been retained as an expert in
18       A This is, I would think it's a termination         18   any case that relates to drug pricing?
19   letter and what kind of other benefits I can have       19      A Yes.
20   after that.                                             20      Q What case is that?
21       Q Show you what's been marked as Deposition         21      A I don't -- consulting, or case?
22   Exhibit 9.                                              22      Q Consulting, yes.


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 1      A    Consulting, yes.                                 1      Q Let me show -- can I have you refer back to
 2      Q    How many times?                                  2   Deposition Exhibit 8, please?
 3      A    Quite a few times. I can't remember exact.       3      A Okay.
 4      Q    Who has retained you?                            4      Q Last page. It says employment agreement?
 5          THE WITNESS: Am I allowed? It's kind of           5      A Uh-huh.
 6   like a confidentiality.                                  6      Q During your employment with the company you
 7          MR. UDDEN: You're asking as a -- let's go         7   had access to confidential and proprietary
 8   back because -- was your question as an expert, or as    8   information. Do you see that?
 9   a --                                                     9      A Uh-huh.
10       Q Talking about expert.                             10      Q So is it true that you had similar kind of
11       A Consultant?                                       11   proprietary information agreements and confidentiality
12       Q Well, both. Let's start with expert. Have         12   agreements with Baxter while you were an employee with
13   you ever been retained to be an expert witness in       13   them?
14   connection with --                                      14      A Combination agreement?
15       A Can you define expert?                            15      Q Confidentiality agreements such that you
16          MR. UDDEN: First of all, you have to let         16   could not release proprietary and --
17   him finish his question, okay?                          17      A With other companies you mean?
18       Q An expert witness to testify in a lawsuit.        18      Q No, with Baxter. While you worked at Baxter
19       A No.                                               19   did you have such agreements?
20       Q Have you ever been retained as a consultant       20      A Yes, I think so. Every employee does,
21   to assist in connection with any lawsuits?              21   right?
22       A No.                                               22      Q Okay.

                                                        54                                                             56
 1       Q Have you ever been retained by a company to        1       A Uh-huh.
 2   consult with them regarding matters of drug pricing?     2       Q And is it that kind of confidentiality
 3       A Yes.                                               3   agreement that you're now concerned about when I asked
 4       Q Which companies?                                   4   the questions about --
 5       A I just -- I don't think I can release the          5       A No.
 6   clients' names to you.                                   6       Q What's the difference?
 7       Q Why not? We're the subject of a Protective         7           MR. UDDEN: No, I think what he's asking you
 8   Order. This deposition is under a Protective Order.      8   is is it that kind of confidentiality agreement with
 9       A But you're not going to --                         9   other companies that you're concerned about, the same
10          MR. UDDEN: I think the concern she might         10   kind of agreement.
11   have -- and I don't know the companies she's talking    11       A I don't think they are the same.
12   about -- is that she might have confidentiality         12       Q What's the difference?
13   agreements with them as well.                           13       A One is a consulting, the other is
14          THE WITNESS: Right.                              14   employment.
15          MR. UDDEN: And regardless of whether this        15       Q Okay. But as a consultant, you are not an
16   is under Protective Order or not, I think she's         16   employee for these other companies, correct?
17   concerned that that --                                  17       A Correct.
18          THE WITNESS: Yeah.                               18       Q But you have a separate agreement regarding
19          MR. UDDEN: -- she might still not be able        19   confidentiality; is that true?
20   to release that information here.                       20       A Yes.
21       A I just can't tell you. They're well-              21       Q How many separate companies?
22   established and very large companies like Baxter.       22       A Again, I don't know.

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 1          MR. UDDEN: He's just asking for the number.         1      A No.
 2      A Number?                                               2      Q Did any of your consultancies relate to the
 3          MR. UDDEN: Yeah.                                    3   calculation of average manufacturer pricing or best
 4      A Three or four.                                        4   pricing?
 5      Q Did your consulting agreement with those              5      A No.
 6   companies relate in any way to AWP, average wholesale      6      Q Do you know what AMP and BP are?
 7   price?                                                     7      A Explain to me, maybe I --
 8      A Probably.                                             8      Q Have you ever heard those phrases before,
 9      Q Did any of those agreements relate to                 9   average manufacturing price?
10   setting prices for a particular drug?                     10      A Yes.
11      A No.                                                  11      Q You heard that in what context?
12      Q Can you tell me generally what your                  12      A You mean before, or after?
13   engagements -- those consulting agreements concerned?     13      Q Any time.
14      A Just generally, right?                               14      A Before I was at Baxter?
15      Q Yes, generally.                                      15      Q Yes.
16      A Good cost-effectiveness models.                      16      A AWP, have I ever -- I mean --
17      Q Cost-effectiveness models?                           17      Q No, I asked about AMP.
18      A Yes.                                                 18      A Oh, yes.
19      Q Can you explain to me what that means?               19      Q Okay. What does AMP mean?
20      A Meaning you -- nowadays with cost changes in         20      A I think average market price.
21   health care systems, if you price a drug, you have to     21      Q Do you know how that's used by drug
22   make sure this drug is cost-effective, not just           22   manufacturers?

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 1   efficacious. So that's a requirement by Government         1       A Yes.
 2   payors, and particularly in the EU community.              2       Q Tell me.
 3       Q Is most of your consulting related to drug           3       A I don't know whether things have changed or
 4   pricing in the EU?                                         4   not. You know, there has to be quite a bit of history
 5       A Most? Both, and U.S., uh-huh.                        5   to that price.
 6       Q And in the time since you left Baxter, since         6       Q When you first came to understand what AMP
 7   2003 forward, do you think there's been about three of     7   was --
 8   those types of consultancies that you've entered into      8       A Uh-huh.
 9   with other entities?                                       9       Q -- when was that?
10       A Uh-huh.                                             10       A It was way before Baxter.
11      Q Did any of those consultancies relate to             11       Q Okay. What was your understanding, what was
12   providing information to any of the drug pricing          12   it used for?
13   compendia like Redbook, like First Data Bank?             13       A I think used to prevent inflated AWP to some
14       A Do I -- you mean did I ever submit price            14   degree.
15   or --                                                     15       Q How?
16      Q Yes, did you ever submit any pricing to any          16       A Because Government or certain payors wanted
17   of those?                                                 17   to do a market survey to see what actual selling price
18       A No.                                                 18   is.
19      Q And in your consultancies -- now I'm not             19       Q And do you know whether AMP is, that
20   talking about just Baxter -- in those post Baxter         20   information is provided to any Government entity?
21   consultancies, did you have any involvement in            21          MR. UDDEN: Again, you're talking about by
22   submitting prices to those compendia?                     22   any company?


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 1       Q We're starting at when you first learned of          1       Q Setting up the?
 2   AMP. I'm just trying to understand your knowledge.         2       A Blockbuster price, ARALAST price.
 3       A When was it you mean? When did I hear --             3       Q Which is it; Advate, or ARALAST?
 4       Q Yeah, when did you first come to have this           4       A Both.
 5   knowledge?                                                 5       Q Now, let's get back to my question. This
 6       A Quite a few years before I joined Baxter.            6   is -- we're dealing with AMP, average manufacturing
 7       Q Where were you employed at the time?                 7   price.
 8       A I think J&J and Amgen.                               8       A Uh-huh.
 9       Q And you also mentioned that there was some           9       Q Were you involved in calculating Baxter's
10   relationship between AMP and AWP?                         10   AMP's for any drug?
11       A Yes.                                                11       A I don't know how you calculate AMP. AMP is
12       Q What was that relationship?                         12   basically a survey, so you don't calculate this AMP,
13       A Again, I have to understand what the                13   so --
14   relationship means, but AWP, you know, it's average       14       Q Who does? Who is doing the survey?
15   wholesale price, right now looks like a suggested list    15       A The Government entities or some private
16   price, and that price I think mostly used by the          16   survey companies. So Baxter is not supposed to
17   Government and payors, private payors to get a drug       17   calculate the AMP.
18   reimbursed because some pharmaceutical companies try      18       Q I'm sorry, could you repeat that?
19   to inflate AWP. So there was something in place to        19       A I don't think any pharmaceutical company
20   kind of survey to prevent such kind of inflation. So      20   should be calculating this AMP.
21   one of the approaches they took is to do a survey of      21       Q Who do you think should be?
22   your market selling price and then decide this is         22       A The Government. That's to prevent -- checks

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 1   really your selling price, not the AWP.                    1   and balance, prevention of inflate AWP. They didn't
 2      Q And were you involved in Baxter's efforts to          2   trust the pharmaceutical companies. That's why they
 3   disclose AMP?                                              3   had this independent entity to survey the market
 4      A Disclose to whom?                                     4   selling price.
 5      Q The Government.                                       5       Q Who was that entity?
 6      A No.                                                   6       A Could be -- vary every year depending where
 7      Q Were you involved in Baxter's efforts to              7   the Government or payors contract.
 8   calculate AMP while you were at Baxter?                    8       Q To your knowledge, what entities calculated
 9      A Probably, I would say probably, depending             9   AMP that you're referring to?
10   whether you submit that thing directly yourself or        10       A I don't remember specific entity name but I
11   whether you're in kind of a team effort to identify       11   know it was independently done.
12   those AMP or average selling price or whether you use     12       Q So let's back up to your time at J&J. Were
13   the information to set your list price. If that kind      13   you involved in calculating AMP's for J&J?
14   of effort, yes, I was involved.                           14       A Never calculate. I was aware of that and
15      Q So you were involved in calculating Baxter's         15   used that in pricing discussions.
16   AMP?                                                      16       Q Let's move forward. Amgen. Were you
17      A In assessing. I wouldn't say calculating.            17   involved in calculating AMP while you were at Amgen?
18   I didn't actually do the calculations myself. But the     18       A We didn't calculate AMP.
19   information was fed to the team who were making the       19       Q And when you were at Baxter, were you
20   decision, and I was updated on those kind of --           20   involved in calculating AMP?
21      Q What decision are you referring to?                  21       A Nobody was calculating AMP. I mean if they
22      A Setting up Advate price, price --                    22   do, that's not right.


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 1       Q And you believe that it was some third party        1      A It's all price. Best price is a price,
 2   that was calculating --                                   2   so -- price has many components to it.
 3       A Yeah.                                               3      Q Were you involved at J&J in disclosing best
 4       Q But you don't know who that third party is?         4   price to any entity, including the Federal Government?
 5       A No.                                                 5      A I was at a strategic level.
 6       Q Now, let's get back to the other term that I        6      Q Let's move forward. At Amgen, same
 7   used and that's best price or BP. Have you ever heard     7   questions, were you involved in calculating best
 8   that before?                                              8   prices at Amgen?
 9       A Yes.                                                9      A Again, nobody is calculating. You're
10       Q When did you first hear of the word/phrase         10   supposed to be honestly reporting to the Government.
11   best price?                                              11      Q Were you involved in reporting Amgen's best
12       A Back in Merck time.                                12   price to the Government?
13       Q Merck time?                                        13      A Again, reporting wouldn't be like one person
14       A Yes.                                               14   reporting to the Government, it's a team pricing group
15       Q Explain what best price is.                        15   responsibility. It's a group responsibility.
16       A The best price is like, you know, Government       16      Q Okay. Can you tell me what your
17   has this policy if you sell to any kind of a -- your     17   responsibility was as part of Amgen's broader
18   client, give them a discount, that discount, you         18   responsibility of reporting best price?
19   should use discount to rebate the Government.            19      A I cannot tell you the specific detail.
20      Q So what is best price used for in the               20   Again, I was under confidentiality agreement with my
21   context of Federal Government reimbursement policy?      21   prior employer. But I can tell you I was involved.
22       A It should be lowest contracting price.             22      Q I'm asking for the specifics of your


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 1       Q How is that calculated? And let's start             1   involvement. Are you not telling me specifics because
 2   back at J&J. How did J&J calculate best price?            2   you remember them and have a confidentiality agreement
 3       A Again, not calculating, you're supposed to          3   and won't tell me, or that you can't remember them?
 4   be honestly reporting to the Government this is your      4      A Both. I cannot remember exactly. You know,
 5   best contracting price.                                   5   I could give you some specifics if I was not under
 6       Q Were you involved at J&J in the disclosure          6   confidentiality agreement with them.
 7   of best price for J&J?                                    7      Q Ms. Sun, are you going to refuse to answer
 8       A When you say involved, you know, any                8   those questions because of your confidentiality
 9   pharmaceutical companies, it's always teamwork. No        9   agreement with regard to Amgen?
10   individual, was just one person involved with            10      A Not refuse all of them. I can tell you
11   developing best price or reporting to the Government.    11   generally what I did, but relating to specifics, no.
12   It's always a teamwork, so I was part of that.           12      Q You're not going to?
13       Q What input did you provide?                        13      A Uh-huh.
14       A Again, J&J is almost 10 years ago now. I           14      Q And that's because of your confidentiality
15   can't remember exactly what my role was, but I do        15   agreement?
16   believe we looked at the best price and tried to make    16      A Yeah.
17   decisions.                                               17      Q Do you have a confidentiality agreement in
18       Q What decisions were you making about best          18   your possession between you and Amgen?
19   price while at J&J?                                      19      A No.
20       A Pricing decisions, discounting decisions.          20      Q So you don't know what the terms of that
21       Q How did that relate to best price for              21   are?
22   Government reimbursement purposes?                       22      A Right.

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 1       Q And you've not seen the Protective Order in          1      A Nobody did AMP calculation. We got updates
 2   this case, correct?                                        2   from Michael Bradley. We had weekly meeting and he
 3       A No.                                                  3   was supposed to tell us that.
 4       Q Now, let's talk about Baxter, then. I want           4      Q Tell you what the AMP was?
 5   to understand what your responsibilities were with AMP     5      A Yeah.
 6   at Baxter, calculating and disclosing AMP while you        6      Q So was it Mike Bradley who calculated AWP to
 7   were at Baxter for 13 months.                              7   your knowledge?
 8       A Again, I don't think we were ever                    8      A Possibly. But again, I don't think he was
 9   calculating AMP.                                           9   the one who calculated. He should have managers
10       Q Okay.                                               10   reporting to him who did those kind of specific jobs,
11       A All right. And it was a team effort.                11   yeah.
12       Q Who was on the team?                                12      Q But you personally weren't involved in those
13       A John Park --                                        13   calculations?
14       Q John Park.                                          14      A No.
15       A -- Mike Bradley, Mike Baldridge, Nick               15      Q It was somebody who worked for Mike Bradley?
16   Poulios. There were also -- there was also a Europe       16      A Yes. And they would tell us, the core
17   person, European, and I couldn't remember his name        17   pricing group.
18   now, and Alan who was the VP of John -- John Park         18      Q Let's have the same conversation about best
19   reporting to him.                                         19   price. Were you personally involved in calculating
20       Q What's his name?                                    20   best price for any Baxter drugs or therapies?
21       A Alan, first name. I can't remember the last         21      A I think, again, best price is similar to
22   name.                                                     22   AMP. It shouldn't be calculated. It should be

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 1       Q Spell it for me. I can't understand --               1   reporting to the Government, okay?
 2       A Alan, A-L-A-N.                                       2          So I didn't report to the Government
 3          MR. UDDEN: Alan?                                    3   directly. Mike Bradley was the core member of the
 4          THE WITNESS: Yeah, but they call him AL/LON         4   team and he would bring those things in for the team
 5   for some -- he's European accent.                          5   to discuss. The team did have responsibility of all
 6       Q Got it.                                              6   U.S. and rest of world pricing.
 7       A And there were occasionally two U.S.                 7      Q But I'm trying to understand if you knew
 8   marketing people to give us feedback on, you know, how     8   what Mike Bradley or his organization did to come up
 9   margins could sell in the field.                           9   with the BP, or best price numbers.
10       Q Who were they?                                      10      A Yes, he would detail us that.
11       A One I think Jill, Jill Kademos (phonetic) or        11      Q What did he say to you?
12   something like that.                                      12      A I can't remember exactly, but I -- I told
13       Q Spell that last name.                               13   him -- he told us, I think I still remember, he told
14       A I can't remember. Probably it's in my first         14   us about volume committed contracts. It was good for
15   Complaint. And there's another, I think he's, he was      15   three years and we were not afraid of losing market
16   a gentleman, and -- is it Ken or something like this,     16   share. There were enough margins for the home care
17   first name? He was Marketing Director then.               17   providers.
18       Q Can you describe for me what each of those          18      Q We'll get to volume committed contracts, but
19   individual's responsibilities were in connection with     19   do you believe there's something wrong with a volume
20   AMP calculations or disclosure?                           20   committed contract?
21       A AMP you mean, not AWP, or price overall?            21      A Yes.
22       Q AMP.                                                22      Q Why?


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 1      A Because I think Baxter was taking advantage           1   care company to look at its historical one year, two
 2   of this kind of, you know, calling it the volume           2   year, three year, five year, determine how much drug
 3   committed contracts, basically they were selling on        3   it might buy, and make an assessment?
 4   margins. Even they tried to avoid the word AWP in the      4       A But they shouldn't have any -- they
 5   contracts. I even told them then it was wrong.             5   shouldn't have any -- you know, doctors are supposed
 6      Q What was wrong with a volume committed                6   to write those scripts. Home care just administer
 7   contract? Do you believe it's somehow impermissible        7   those drugs. So how they -- how can they commit to a
 8   to give discounts to purchasers?                           8   volume to, you know, make patients take drugs?
 9      A I think it's okay to give discounts. It's             9       Q Well --
10   not okay to sell on your margins. Like all those home     10       A They don't know what doctors are going to do
11   care providers, they know too well what the               11   to -- you know, give, how much drug the patients will
12   reimbursement rates are. And you give them volume         12   use or whether the patients are going to switch to
13   committed contracts, give them lower price so they can    13   different practices or whether there could be new
14   see what the margin is there. Baxter is too aware of      14   products, you know, other companies, you know. So the
15   those things.                                             15   answer, I think it's kind of trying to, you know,
16      Q So it's okay to sell based upon discounts;           16   increase utilization that way.
17   you just said that, right?                                17       Q Is it possible --
18      A Uh-huh.                                              18           MR. UDDEN: I just -- I think we're getting
19      Q And isn't a volume committed contract a,             19   a little beyond jurisdictional issues here. I'd just
20   simply a discount?                                        20   make that comment.
21      A No.                                                  21           MR. JACKSON: No. Part of your case is
22      Q Why not?                                             22   theoretically about a volume committed contract.


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 1      A Because Baxter knew, even internally all              1   BY MR. JACKSON:
 2   these meetings I attended to and the research we did,      2      Q You said you weren't involved in calculating
 3   there was always AWP there. So in essence we were          3   BP, correct; that was Mike Bradley and his group?
 4   trying to study this margin. And if you talk to            4      A Not calculating, reporting.
 5   anyone, even Michael Bradley, he would know margin is      5      Q You reported BP, you personally?
 6   the only thing that sells Baxter's products.               6      A No.
 7      Q Again, I'm trying to understand what's wrong          7      Q Okay. Who did?
 8   with a volume committed contract. Your Complaint and       8      A Michael Bradley's group.
 9   Declaration says you saw one.                              9      Q To whom?
10      A Uh-huh.                                              10      A To Medicare/Medicaid.
11      Q Is that your memory?                                 11      Q Do you know that to be true?
12      A I can't remember exactly, but Bradley had a          12      A Yes.
13   presentation on that.                                     13      Q How do you know that to be true?
14      Q What's the difference, then, between a               14      A Because I was involved in Medicaid
15   discount that's okay and a volume committed contract      15   submissions, too.
16   that has discounts that's not okay?                       16      Q Okay. Now, let's get back to VCC because
17      A First of all, I don't think you should               17   you've said in your Complaint that somehow something
18   commit any home care to a volume. You know, there are     18   is wrong with VCC, right?
19   only certain patients, you know. How can you do a         19      A Uh-huh.
20   volume? You know, patient only needs to take so much      20      Q Let's get back to the conversation we were
21   drug.                                                     21   having. Would you agree with me based upon your
22      Q Would it be possible for that home health            22   economics background that it would be perfectly

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 1   permissible for a home health care company to evaluate    1   BY MR. JACKSON:
 2   its prior year usage of a particular drug?                2       Q No, ma'am. I asked -- again, my question to
 3       A No.                                                 3   you is based upon your experience. Do you know of any
 4       Q That would not be appropriate, to look at           4   Federal or State regulation that specifies that a
 5   what its historical purchases are?                        5   volume committed contract is wrong or improper?
 6       A You mean perfectly all right? I don't think         6       A It's wrong if it's related to AWP.
 7   it's perfectly all right. It depends on, you know,        7       Q I asked you whether you were aware of any
 8   what incentive, what the intention, you know, whether     8   regulations that said a volume committed contract was
 9   or not they have the patients' interests in their         9   wrong or improper. If you know those regulations,
10   heart.                                                   10   please tell me.
11       Q Do you believe it would not be appropriate         11       A I don't think they would allow volume
12   for a home health care company to consider its           12   committed contracts. Baxter would just say contracts
13   historical buying patterns before purchasing product?    13   probably. If it's volume committed, probably it's
14       A You know, I can -- I wouldn't comment on           14   wrong.
15   that. It -- that's too complicated to say just yes or    15       Q Ms. Sun, I asked you are you aware of any
16   no. But I can tell you the volume committed contracts    16   regulations that would specify that VCC's, volume
17   even do not. I mean they do not have the word AWP        17   committed contracts, are wrong or improper. If you
18   there, but if you survey every single home care          18   know the regulation, please tell me. If you don't,
19   company, they know what the reimbursement rates are      19   then just tell me you don't know the regulation. I'm
20   and they know what the margins are going to be,          20   trying to understand if you are aware based upon your
21   whether or not they are going to profit. There are       21   own experience whether such a regulation or law or
22   tons of articles on that. Tons of home care              22   rule exists.

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 1   companies, you know, coming up in the last couple         1          MR. UDDEN: In other words, he's not asking
 2   of -- last several years because they saw this            2   you right now whether you think it's wrong or not.
 3   economic incentive. So I think, I still think, and I      3   He's asking you if you know of a specific regulation
 4   thought, it was totally wrong to have that kind of        4   that basically says it's wrong.
 5   contracts.                                                5          Is that correct?
 6      Q Can you point me to any Medicare or Medicaid         6          MR. JACKSON: Correct.
 7   or other State regulations that would say volume          7       A Just the term volume committed contracts?
 8   committed contracts are impermissible?                    8       Q No, the use of volume committed contracts,
 9      A I think if you know details and how Baxter           9   is that wrong or improper under a regulation?
10   generated those home volume committed contracts they     10       A I believe so.
11   would think it's wrong.                                  11       Q Okay. What regulation?
12      Q Not my question. I asked you are you aware          12       A I cannot cite specific law, but I know that
13   of any regulations, Federal or State, that specify       13   early on if you contract, even at Merck and J&J time,
14   that volume committed contracts are improper or wrong?   14   you know, they had all these AWP and market share-
15      A You know, if you use AWP, it's wrong.               15   related lawsuits. And it says if you contract based
16      Q That wasn't my question.                            16   on volume, shifting of market share, and that's wrong.
17          MR. JACKSON: Can you read back my question,       17       Q Okay. So how does a volume committed
18   please?                                                  18   contract relate to average wholesale price?
19          (Record read.)                                    19       A That's, again, a very long story, but --
20      A I would -- I am not aware that -- whether or        20       Q I'd like to hear it.
21   not use the volume committed contracts, you know,        21       A You'd like to hear? Volume committed
22   so --                                                    22   contracts --


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 1       Q Yes.                                                 1   this market research report, this was much lower than
 2       A -- has the discounted price. When you see            2   what he said at the meeting.
 3   how the Government gets paid and how home care -- I'm      3      Q Which drug are you referring to?
 4   sorry, how home care gets paid and what their economic     4      A Recombinate --
 5   incentive is, the lower the discount price, the higher     5      Q So have you --
 6   the AWP. That's the -- their margin. So the volume         6      A -- many others, yeah.
 7   committed contracts is basically what their --             7      Q Well, which?
 8   economic incentive margins are what home cares are         8         MR. UDDEN: Many other drugs?
 9   looking at.                                                9      A Many other drugs.
10          So you say, you know, you can commit to this       10      Q Which, which drug did you see in terms of
11   and then basically tell home care you are going to        11   reporting to the Federal Government of best price?
12   make that much money if you buy our product at the        12      A (Reviewing.)
13   lower price and higher reimbursement rate. Volume         13          I mean Recombinate is the largest product
14   committed contract has to be related to AWP.              14   and probably accounted for 60 percent of revenue. I
15       Q And how do volume committed contracts relate        15   think I can certainly remember that, and there are
16   to the calculation of best price?                         16   plasma products.
17       A In theory correctly you're supposed to get          17      Q You're referring to Deposition Exhibit 6,
18   the lowest price in your contracts and report that        18   correct? You're looking at that right now?
19   price. One cannot calculate AMP or calculate best         19      A Yeah. I think probably the products should
20   price because each contract has different volume. So      20   be there, but I can't find it. It's such a big
21   you're not going to say, oh, I'm going to wait it out.    21   binder. But all bioscience pharmaceutical products.
22   And you're supposed to get the lowest price of any        22      Q Were what?

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 1   contract and report that way to the Government.            1       A It's like Recombinate is the No. 1 in the
 2      Q Did Baxter do that?                                   2   time, and plasma products, there were quite a few of
 3      A (Shrugging shoulders.)                                3   them.
 4      Q You shrugged your shoulders. Do you know              4       Q All right. So let's back up. Let's talk
 5   whether Baxter did it or not?                              5   about each of the drugs that you're referring to,
 6      A When you say calculating and when Michael             6   okay?
 7   Bradley --                                                 7       A Uh-huh.
 8          MR. UDDEN: Talking about reporting now, I           8       Q So we're talking about the reporting of best
 9   think.                                                     9   price.
10      Q I'm talking about reporting.                         10       A Uh-huh.
11      A When you say calculating, when Michael               11       Q Okay. How many of those drugs were you
12   Bradley was talking about calculating, I thought it       12   involved in reporting best price to the Federal
13   was wrong. I thought they should just report the          13   Government?
14   lowest price.                                             14       A Again, I didn't report to the Government
15      Q And do you know whether they did?                    15   directly.
16      A I don't know.                                        16       Q Okay.
17      Q Do you know what Baxter reported for any             17       A Only Michael Bradley would update us on the
18   drug in terms of its best price to the Government?        18   best selling price for U.S. products. And when he
19      A I think so.                                          19   reported those -- updated the team on those prices and
20      Q What?                                                20   I look at this market research report, I saw big
21      A I can't remember exact number, but Bradley           21   discrepancy.
22   told us what was the price then and that compared with    22          And again, he was like you, talking about


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 1   calculating best price and AMP, and I even brought to      1         A For which product you mean?
 2   the team, I thought we were just reporting best price      2         Q Any product that you have direct knowledge
 3   or AMP, not calculating.                                   3   of.
 4      Q So you don't know what the rules are in               4      A Recombinate and plasma products.
 5   terms of -- the Federal regulatory rules in terms of       5      Q Which plasma products?
 6   how you calculate or report BP?                            6      A I can't remember. Again, it's been so long.
 7         MR. UDDEN: You've got to let him finish the          7   We had the No. 1 plasma product in the group of
 8   question, okay?                                            8   class -- in the class then.
 9      Q Go ahead.                                             9          (Reviewing.)
10         MR. JACKSON: Can you read my question?              10          I can't remember which products, plasma
11         (Record read.)                                      11   products. We had two, I think. I think it starts
12       A You mean you were or --                             12   with N, but I can't remember the name of the products
13   BY MR. JACKSON:                                           13   now.
14      Q While you were at Baxter -- just trying to           14      Q And again, how is it you determined that
15   understand your involvement in the calculation and        15   what Baxter did in reporting AMP and BP was incorrect?
16   reporting of best price.                                  16      A Because I had lots of experience doing that
17       A I was aware of the Federal rules.                   17   kind of work prior to coming to Baxter. They hired me
18      Q Okay. Where are they?                                18   because I was experienced in the field.
19       A Reporting the lowest price, contracted price        19      Q But I'm sorry, I don't understand what your
20   to the Government. So when Baxter -- Mike Bradley         20   evidence is that Baxter reported some kind of AMP --
21   used the term --                                          21   bad or improper AMP or BP for Recombinate. What's
22      Q For which drugs?                                     22   your evidence? Do you have a piece of paper?


                                                          86                                                                88
 1      A For Recombinate and some other plasma                 1       A There should be meeting Minutes. I don't
 2   products.                                                  2   have a piece of paper for that thing.
 3      Q Which ones?                                           3       Q Do you know how it was wrong or improper?
 4      A I can't remember the name.                            4       A Because Baxter -- Bradley used the term
 5      Q And what was wrong with what Mr. Bradley had          5   calculating.
 6   reported to the Federal Government?                        6       Q So because Mr. Bradley used the term
 7      A Because he used the same term as you,                 7   calculate versus report --
 8   calculating the best price, calculating the best price     8       A Right.
 9   and calculating AMP.                                       9       Q -- you believe Baxter did something wrong?
10      Q So by your answer, do you mean that if there         10       A Not only that, because he calculated price.
11   was any kind of calculation relating to best price or     11   For example, 75 cents, and I looked at this report
12   AMP that somehow what Baxter did was wrong?               12   it's 65, so I thought it was wrong.
13      A Yeah. It should -- they should be reporting          13       Q All right. So let's back up.
14   lowest contracting price.                                 14          MR. JACKSON: Can you read my question to
15      Q And give me the instances where you know             15   her before she said not only that.
16   that Baxter did not report the lowest contracting         16          (Record read.)
17   price.                                                    17   BY MR. JACKSON:
18      A Because he was talking about calculating.            18       Q Is that correct?
19          MR. UDDEN: But I think by instances you're         19       A I have to -- I am kind of confused. I still
20   talking about drugs. Which drugs, when, whatever.         20   need to understand this question a little bit more.
21      Q Specific instances where you believe that            21       Q Sure. It seems to me that you're focusing
22   Baxter somehow reported an inaccurate AMP or BP.          22   on Mr. Bradley's use of the word calculate --

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 1       A Uh-huh.                                              1      Q You're doing some kind of comparison --
 2       Q -- and that your supposition is that if Mr.          2      A Yeah.
 3   Bradley was calculating anything, his disclosure of        3      Q -- with what Mr. Bradley was doing with
 4   AMP or BP had to be wrong. Is that your theory?            4   Deposition Exhibit 6 and another report.
 5       A No, no, it's more than that.                         5      A Uh-huh.
 6       Q Okay. So that has nothing to do with your            6      Q Okay.
 7   theory, Mr. Bradley's use of the word calculation or       7      A When was that?
 8   calculate, that has nothing to do with this case?          8      Q Yes, when was that?
 9       A Has something to do with the case. First of          9      A Usually right after the meeting, right.
10   all, he used the term wrong, calculating.                 10      Q How often did those meetings take place?
11       Q Okay.                                               11      A I believe it's once a week, but sometimes
12       A And second of all, I'm evidence-based. I            12   could be every other week.
13   don't want to say someone is wrong because he used the    13      Q And this exercise that you just described
14   wrong word, so I did go back to some numbers here and,    14   that you undertook, was that for Recombinate?
15   you know, compared to the number he was -- suggested      15      A For Recombinate and sometimes for plasma
16   to the team.                                              16   products as well.
17       Q So you're referring to Deposition Exhibit 6?        17      Q But you just don't remember which plasma
18       A Uh-huh.                                             18   products?
19       Q And you believe that --                             19      A Yeah.
20       A Not only 6, there were also some other              20      Q Those are the only drugs that you undertook
21   documents at the time.                                    21   your exercise; is that correct?
22       Q Do you remember what they were?                     22      A Uh-huh.

                                                          90                                                           92
 1      A Simon-Kucher is one of them.                          1         MR. UDDEN: Yes? You have to answer yes.
 2      Q So did you compare the information contained          2      A Yes. Okay. Sorry.
 3   in Deposition Exhibit 6 plus the Simon-Kucher --           3      Q You said something a minute ago when you
 4      A Uh-huh.                                               4   were referring to your time at J&J and Amgen, you
 5      Q -- report, plus information that Michael              5   indicated you were aware of the AWP lawsuits at the
 6   Bradley disclosed to the Federal or State                  6   time, correct?
 7   Government --                                              7      A Yes.
 8      A Uh-huh.                                               8      Q Let's get back to your employment. When did
 9      Q -- and you made a determination that somehow          9   you work for J&J?
10   those disclosures were wrong?                             10      A I have to refer to my --
11      A Uh-huh.                                              11         (Reviewing.)
12          MR. UDDEN: Is that yes? You --                     12      Q Are you referring to your Declaration that
13      Q Is that a yes?                                       13   is Deposition Exhibit 4?
14      A Yes.                                                 14      A Yeah. I'm trying to check my employment
15      Q When did you do that?                                15   dates.
16      A When did I?                                          16         MR. UDDEN: Actually your Declaration is a
17      Q Yes.                                                 17   separate Exhibit. Is that 4?
18          MR. UDDEN: And do that, meaning when did           18         MR. JACKSON: Exhibit 4.
19   she --                                                    19         MR. UDDEN: If you look at 4, that's just
20      A Report or --                                         20   your Declaration.
21      Q Do this calculation. You're --                       21         THE WITNESS: That's my Declaration here,
22          MR. UDDEN: Or make the --                          22   too. I --

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 1      Q Let me have you actually look at Deposition         1       A Yeah, pricing is awfully broad, yeah, that's
 2   Exhibit 4 and let's work off that, okay?                 2   right. Pricing research, modeling, choice modeling,
 3      A All right. Okay.                                    3   elasticity exercise with Simon-Kucher sometimes -- I
 4         I then went to Johnson & Johnson for               4   would just give you an example -- discuss list price,
 5   approximately two years. So I think -- no, I can just    5   relate price to market share, prepare reimbursement
 6   give you estimates. So I was at Merck for five years     6   submissions, develop reimbursement -- pricing
 7   and probably went to J&J 1998.                           7   reimbursement dossier.
 8      Q Okay. So while you were at J&J during the           8       Q It was during this job, during the '98 to
 9   period 1998 to 2000 --                                   9   2000 time frame when you first learned about the AWP
10      A Uh-huh.                                            10   litigation that was then ongoing?
11      Q -- you were aware of the AWP lawsuits,             11       A When did I learn about it?
12   correct?                                                12       Q You said sometime during this time period
13      A Yes.                                               13   you were aware of the AWP cases.
14      Q What did you know about the AWP lawsuits?          14       A Right, yeah.
15      A I can't give you -- I know a lot about AWP,        15       Q Okay. Now, let's move to -- your next
16   but I don't know how much I need to tell you.           16   assignment, or job was with Amgen?
17      Q I need to know -- my question is based upon        17       A Uh-huh.
18   what did you know or what did you learn about the       18       Q Correct?
19   lawsuits while you were at J&J.                         19       A Uh-huh.
20      A Uh-huh.                                            20          MR. UDDEN: Yes?
21      Q Okay.                                              21       A Yes.
22      A Uh-huh. I know that in order to grab market        22          THE WITNESS: Hard to change habit.

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 1   share, the pharmaceutical companies increased their      1      Q And what were your responsibilities at
 2   revenue. They want to sell more products, they want      2   Amgen?
 3   to increase utilization. So what some of the             3      A I was hired to do pricing as well.
 4   companies did was to inflate AWP and give some           4      Q How long were you at Amgen?
 5   providers discounts and make them aware of those kind    5      A About two or three years -- two and a half
 6   of money they can make by, you know, getting             6   years.
 7   reimbursement at higher rate but getting the products    7      Q And I'm referring to Paragraph 4 of
 8   at the lower rate.                                       8   Deposition Exhibit 4.
 9         So there were quite a few lawsuits, again,         9      A Right. Yeah.
10   that inflated AWP and market share -- sorry, lower      10      Q So that's the time frame, kind of '99 to
11   price to move market share.                             11   2000 --
12       Q And while you were at J&J in this 1998 to         12      A Right --
13   2000 time period, do you remember which companies had   13      Q -- while you were there?
14   been sued by that time?                                 14      A -- '99 to 2002, right before I came to
15       A I can't remember how many companies had been      15   Baxter.
16   sued, but there were quite a few. Which specific        16      Q And were you doing the same kind of work at
17   company I probably don't.                               17   Amgen as you had done at J&J?
18       Q By the way, during your time period at J&J,       18      A Yes.
19   what were you doing? What was your --                   19      Q And during that time period, were you also
20       A Pricing.                                          20   aware of the AWP litigation that had been filed?
21       Q Give me a general description of what you         21      A Yes.
22   were doing. Pricing is awfully broad.                   22      Q Do you remember any specific cases that you

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 1   came to understand to -- that had been filed during       1         (Back on the record at 11:10 a.m.)
 2   that time period?                                         2         (Exhibit 10 was marked for identification
 3       A Not filed during that time period, ongoing          3   and was attached to the transcript.)
 4   AWP lawsuits.                                             4   BY MR. JACKSON:
 5       Q And how did you come to understand that             5      Q Ms. Sun, various times this morning when we
 6   information?                                              6   were talking about those things that you thought
 7       A I was trained to do -- to understand that.          7   Baxter had not done correctly you referred to
 8       Q Were you doing independent research, or were        8   Deposition Exhibit 6, the Plasma Fractions Market,
 9   you simply aware of all the press articles about the      9   Deposition Exhibit 6.
10   AWP; which was it?                                       10      A Okay. Yes.
11       A I was aware of press articles, of course,          11      Q Can you give me an example to show me
12   and I studied -- you know, I was sent or provided        12   precisely how -- the data you looked at in here to
13   documents on those regulations from the Government,      13   determine whether what Michael Bradley might have been
14   the company because I was responsible for pricing, so    14   doing was somehow different or wrong based upon this
15   I needed to be aware of those things. And also to        15   document which is Deposition Exhibit 6?
16   went to conferences, training sessions company           16      A Okay. That's really hard for me to turn to
17   sometimes provided, yeah.                                17   the right page.
18       Q Okay. And through all that process, you            18         MR. UDDEN: But you can take the time that
19   were given the information about the then-existing AWP   19   you need, so --
20   litigation?                                              20      A It's really hard. It's such a big document.
21       A Yeah. And I subscribe to those kinds of            21         (Reviewing.)
22   journals.                                                22         (Witness turning to counsel.)

                                                         98                                                            100
 1      Q Like?                                                1         (Reviewing.)
 2      A Pink Sheets.                                         2         THE WITNESS: This is plasma products, it's
 3      Q I don't know Pink Sheets.                            3   not Recombinate.
 4      A Pink Sheets is pricing weekly kind of                4         (Reviewing.)
 5   journal we subscribe to.                                  5       A I have this one, Page 61. If you see, if
 6      Q What other kind of journals or third-party           6   you see Recombinate Factor VIII --
 7   sources of material do you remember?                      7         MR. UDDEN: Okay. Maybe you should use the
 8      A Sometimes Medicare/Medicaid send us some             8   GH number. It's --
 9   documents as well.                                        9         THE WITNESS: Yeah.
10      Q And then when you came to Baxter in the             10         MR. UDDEN: -- 1608.
11   Summer of 2002, did you continue to do the same kinds    11       A Yeah, but probably not this one. It would
12   of pricing that you've described earlier this morning?   12   be something very similar to this. Otherwise I have
13      A Uh-huh.                                             13   to go through the whole document. And here, for
14          MR. UDDEN: Yes?                                   14   example, you see Recombinate --
15      A Yes.                                                15       Q Point me to the page number on Deposition
16      Q And did you continue to become aware of all         16   Exhibit 6.
17   the AWP litigation that was then ongoing in that time    17       A Page GH 001608.
18   period?                                                  18       Q Look at 1608.
19      A Yes.                                                19       A It's really not the right table, but I just
20          MR. JACKSON: Let's go off the record.             20   want to give you an example since I don't have to go
21          (Discussion off the record.)                      21   through page-by-page to find that. For example, here
22          (Break taken at 10:59 a.m.)                       22   is under Recombinate Factor VIII --


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 1       Q Again, which page are you referring to?             1   because I highlight every one and it has a kind of
 2       A GH 001608.                                          2   sticker so it's easy for me to locate the pages right
 3       Q Of Exhibit 6, okay.                                 3   now.
 4       A Uh-huh. If you look at, you know, the               4           (Reviewing.)
 5   following products, price changes were observed.          5           There were also, I think, you know, like
 6       Q Okay.                                               6   different home care companies, the price they receive
 7       A And Recombinate Factor VIII, under that             7   in this binder, but I can't find it right now. Like
 8   there should be three or four products, and one of        8   for example, you know, Caremark, what kind of price
 9   them would be Baxter's.                                   9   they receive from Baxter, but I don't see -- and how
10       Q So you're referring to Recombinate Factor          10   it is related to market share, and what's the AWP for
11   VIII, right?                                             11   that year.
12       A Factor VIII, right. I couldn't find that           12           So probably that was not what Mark gave to
13   table right now, but I found it before. It should be     13   you. Is that the same thing he gave to you, this one?
14   here. And under Recombinate, three products, major       14   Is it -- our attorney give it to you, or is that one
15   products -- I think it's four now. And under that --     15   Baxter --
16       Q Which manufacturers?                               16       Q This is -- Document 6 is one of two
17       A By Bayer, one by Bayer, two by Baxter, and         17   documents prior to this morning that were produced to
18   there's another one, Helix -- I forget about which       18   us. The other was Deposition Exhibit 5.
19   company.                                                 19       A (Reviewing.)
20       Q So the data that you're referencing here on        20           I don't know whether it's the same thing or
21   Page GH 001608 --                                        21   not.
22       A It's like combined, obviously.                     22       Q Well, for the record, I'd like you to

                                                        102                                                           104
 1       Q -- is a price factor that combines four             1   produce any documents that you have that have not yet
 2   manufacturers?                                            2   been produced because you just reflected that you're
 3       A Right, exactly. So you can see it's from 73         3   not sure Deposition Exhibit 6 is the binder of
 4   cents to 74 cents they're talking about price change.     4   documents that you believe that you had given to your
 5   But if you have separate --                               5   counsel.
 6       Q You're referencing a Factor IX now, not a --        6          MR. UDDEN: Yeah, we'll follow-up.
 7       A I'm sorry, Factor VIII, 71 to 74 changes.           7       A Yeah.
 8       Q Yes.                                                8          MR. JACKSON: I'll make that formal request.
 9       A Then under that should be like four                 9       A Yeah. I think I even folded the page like
10   products. Then you can see Recombinate probably 71       10   that (indicating), say, look at AWP on this side,
11   cent or something like that. Then Baxter, Michael        11   market share on that side, you know. And I'm going
12   Bradley, Mike Bradley would refer to selling price of    12   back to California so I should have access for the
13   75 cents instead of the lowest 71, for example.          13   original document.
14       Q But this 71 was based upon an average of           14          Yeah, so I don't think it's here. It's not
15   multiple vendors?                                        15   product-specific, but I do have one.
16       A Right. That's why I'm trying to find a             16       Q So you don't believe Deposition Exhibit 6 is
17   separate table.                                          17   in fact the document that you referred to in your
18       Q Okay. Thank you. I would appreciate that.          18   Declaration in Paragraph 10?
19       A Then -- so then you have to let me take a          19       A Doesn't seem to be complete at least.
20   little bit more time.                                    20       Q All right. So based upon looking at this
21           (Reviewing.)                                     21   document now, Deposition Exhibit 6, you are unable to
22           I should have brought one I have at home         22   give me an example of how information within

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 1   Deposition Exhibit 6 can be compared to Baxter data       1   2002, closed quote. Do you know how many entities
 2   and determine whether something is or isn't               2   received a copy of this --
 3   impermissible, correct? You can't give me an example      3      A I don't know. It was -- has to be very
 4   of that right now?                                        4   limited.
 5       A Right now, no, not from -- I mean, again, I         5      Q -- report?
 6   have like over 200 pages to go through.                   6         Why does it have to be very limited?
 7       Q I understand. But you're not able now to            7      A Yeah, because the plasma product and the
 8   give me --                                                8   Recombinate, that kind of blood products only few
 9       A Right.                                              9   companies are engaged in.
10       Q -- an example?                                     10      Q Well --
11       A But I do believe I pointed out to my counsel       11      A And also every year, if you subscribe to
12   before.                                                  12   that, you know, you can give feedback and see how --
13       Q Let me have you look at this, Deposition           13   what products and what kind of data I wanted to be in
14   Exhibit 6, the second page, which is GH 001528.          14   the report.
15       A (Complying.)                                       15      Q So you're suggesting that you made a
16       Q I'm reading from the introduction, quote, in       16   specific request for specific information to be
17   2002 the Marketing Research Bureau, Inc. began an        17   included in --
18   extensive marketing research study to determine the      18      A Baxter could have, I didn't.
19   major changes that have affected the plasma products     19      Q Do you know whether that happened?
20   market in the United States since the last report was    20      A I don't because I would hardly believe, you
21   published in 2001. The survey was part of an ongoing     21   know, a company would have AWP and market share -- I
22   research effort to provide comparable data in other      22   mean this company would do AWP and market share, all


                                                        106                                                           108
 1   regions since the first report was completed in 1974,     1   those kinds of margins side-to-side on separate pages.
 2   closed quote.                                             2       Q I don't understand what you mean.
 3          Ms. Sun, were you given a copy of the 2001         3       A You know, by law it's wrong to relate AWP to
 4   version of this report that's referenced in Deposition    4   market share. That's basically want to sell on the
 5   Exhibit 6?                                                5   spread.
 6      A So this is 2002. You mean what I was given           6       Q And you believe that information is
 7   2001?                                                     7   contained in this report?
 8      Q Yeah. Were you given the prior report                8       A Right.
 9   that's referenced here?                                   9       Q Can you show me where that is?
10      A No. I wasn't even in the company.                   10       A I can't find it right now, so that's why I
11          MR. UDDEN: Whether you were in the company        11   believe it must be in my original document to my
12   or not, they could have given you the report.            12   counsel.
13      A Yeah, that one was more historical. Even if         13       Q Now, do you know to whom this report was
14   you see here, it's historical. 2001 information was      14   sent?
15   there, too. Like data from 1989, for example.            15       A The only one I know of is John Park.
16      Q So there's historical information in                16       Q Okay. I'm referring back now to the second
17   Exhibit 6?                                               17   page of the document that says the report was
18      A Yeah, right.                                        18   completed and delivered to domestic and international
19      Q Can you direct your attention to the last           19   subscribing clients. Do you know who the subscribing
20   sentence on that introduction. It says, quote, the       20   clients were of the Market Research Bureau report?
21   following report was completed and delivered to          21       A No.
22   domestic and international subscribing clients in July   22       Q That is, do you know whether it's all the


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 1   entities, for example, listed on Page GH 001536?       1        Q Answer the question.
 2       A No.                                              2        A I have to understand the sentence? So many
 3       Q So you don't have any information                3     legal terms.
 4   regarding --                                           4        Q I refer you to Paragraph 108.
 5       A Competitors.                                     5        A Yeah.
 6       Q -- the scope or breadth of the production --     6        Q And Paragraph 108 seeks damages from '98 to
 7       A Right.                                           7     the present.
 8       Q -- or publication of this document?              8        A Uh-huh.
 9       A Right, uh-huh.                                   9        Q You see that?
10       Q I show you what's been marked as Deposition 10            A Yes.
11   Exhibit 10. Deposition Exhibit 10 is the Complaint    11            THE WITNESS: And what's the law objection?
12   filed in the matter under seal in July 2005. Have you 12            MR. UDDEN: I put my objection on the
13   seen this document before?                            13     record, but you can still answer the question.
14       A Yes.                                            14            THE WITNESS: What's your objection?
15       Q We'll spend a great deal of time with this,     15            MR. UDDEN: I just objected as calling for a
16   Ms. Sun. I'm curious what parts of this document, if 16      legal conclusion, but that doesn't mean that you can't
17   any, did you draft?                                   17     go ahead and answer the question.
18       A Did I draft?                                    18        A I think from --
19       Q Yes, ma'am.                                     19            MR. UDDEN: I put my objection on the
20       A Draft mean writing?                             20     record.
21       Q Yes, ma'am.                                     21        A Yeah, I can't answer all of this, but I
22       A I don't think I wrote it. I just told my        22     think Recombinate is one of the big products.

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 1   counsel what happened.                                   1       Q That's not my question. So the question is
 2      Q Okay. Ma'am, I'm a little curious about             2   are you seeking damages from 1998 to the present?
 3   what happened. If you turn, for example, to Paragraph    3       A Yes.
 4   108 of Deposition Exhibit 10.                            4       Q Now, let me have you turn to Deposition
 5      A 108? The last page --                               5   Exhibit 3.
 6      Q It's -- try Page 30.                                6       A Okay.
 7          MR. UDDEN: Yeah.                                  7       Q Let me refer you to Page 6 of 41 at the top.
 8      Q Paragraph 108 on Page 30.                           8       A 6 of 41, okay.
 9      A Okay. This paragraph, (indicating)?                 9       Q And in Deposition Exhibit 3, which is the
10          MR. UDDEN: Yeah.                                 10   Relators' Memorandum in Opposition to Baxter
11      Q So Paragraph 108 alleges that Baxter               11   International, Inc.'s Motion to Dismiss Relators'
12   violated Massachusetts general laws from, and I'm       12   Complaint, there is the following sentence: Quote,
13   quoting, from at least 1998 to the present by its       13   because the scheme could not have -- could not even
14   reporting of false pricing statements regarding its     14   have existed before the reporting mechanism changed in
15   products. Do you see that?                              15   2000, prior Complaints and articles discussing other
16      A Yes.                                               16   forms of AWP fraud disclose nothing at all and are
17      Q So is it your belief that this Complaint           17   irrelevant, period, closed quote.
18   seeks damages from at least 1998 forward?               18           Ms. Sun, are you asserting that some
19          MR. UDDEN: Again, I think -- just object to      19   reporting mechanism changed in 2000 that would change
20   the extent it calls for a legal conclusion on her       20   the basis of your Complaint?
21   part, but you can answer as far as your understanding   21           MR. UDDEN: Again, just object to the extent
22   goes.                                                   22   it calls for a legal opinion/conclusion. Subject to


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 1   that, you can answer the question.                        1   reimbursement and reporting pricing to First Data Bank
 2       Q You can answer the question.                        2   for quite a long time. I mean even before I came to
 3       A I still need to understand your question if         3   Baxter. When we were trying to determine the price
 4   you don't mind.                                           4   for Advate, the new blockbuster, I connected with
 5       Q Your Complaint seeks damages starting in            5   First Data Bank and noticed there was a discrepancy
 6   1998.                                                     6   between the Redbook and First Data Bank, meaning, you
 7       A Right.                                              7   know, First Data Bank added another 25 percent on top
 8       Q Your Opposition, which was filed very               8   of Baxter's AWP price. And I knew First Data Bank was
 9   recently which is Deposition Exhibit 3, says that no      9   referred -- was used by many Government payors and
10   scheme could even arise until 2000. Which is it?         10   private payors, so I brought that up to Baxter's core
11          MR. UDDEN: And just same objection, but you       11   pricing team and said -- saying, look, on top of very
12   can answer the question.                                 12   inflated AWP price, First Data Bank was putting
13       A I think regarding this First Data Bank             13   another 25 percent on top of that making the margin
14   thing, you know, there are quite a few things in the     14   even bigger.
15   Complaint.                                               15         So it was -- I was really concerned.
16       Q Okay.                                              16   Michael Bradley and other team members told -- their
17       A One of them is the First Data Bank. But AWP        17   kind of argument was First Data Bank was not used by
18   is just not -- is not just related to AWP, so that       18   many payors. And so I contacted First Data Bank -- I
19   could extend it to earlier time period. But              19   had all these E-mail, like a chain, but Baxter didn't
20   regarding -- on top of AWP there's a multiplier of .25   20   allow me to have any of those when I left. So I
21   that only starts from 2000.                              21   contacted First Data Bank, the manager there, and he
22       Q So which is your claim? Does your claim            22   wrote me -- I also had my consultant then, we both


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 1   arise from this notion of First Data Bank and a           1   consulted First Data Bank, and they send me an E-mail
 2   multiplier, or does your claim concern the general AWP    2   saying at least 80 percent of Government payors and
 3   information that you referred to you knew about when      3   private payors in the U.S. use First Data Bank as
 4   you were working at Bayer and you were working at         4   their reimbursement rates, including VA.
 5   Amgen?                                                    5         So I forwarded that E-mail to John Park, if
 6          MR. UDDEN: Again, just same objection to           6   I remember correctly, Nick Poulios, my supervisor, and
 7   the extent it calls legal opinion/conclusion on her       7   a consultant then, and they scheduled a meeting with
 8   part, but you can answer the question.                    8   me and Larry Guiheen who was the President of the
 9       Q Go ahead.                                           9   Bioscience Division.
10       A For First Data Bank it's certainly 2000,           10      Q You said you connected with someone at First
11   starts with 2000, but not the general because Baxter     11   Data Bank?
12   is in a very specific market. You know, has              12      A Yes.
13   middleman, home care, they can push market share.        13      Q Who did you connect with?
14   That thing could extend from earlier time period.        14      A I can't remember the name now, but he was
15       Q So the notion that, that AWP or spread could       15   the selling -- kind of like a manager, geographic
16   be used to push market share, that's your complaint as   16   manager for the area.
17   well?                                                    17      Q So it was a male, not a female?
18       A Yeah.                                              18      A Yeah, it's a male.
19       Q Can you explain to me this First Data Bank         19      Q And what, did you ask that person some kind
20   thing that you're referring to when I referred you to    20   of questions?
21   Exhibit 3?                                               21      A Yes. I said -- you know, I can't remember
22       A Yeah. I've been working in pricing                 22   the exact E-mail, but basically trying to ask him, you


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 1   know, if any Government payors or private payors are       1      A Deana Presbella (phonetic).
 2   using that database to refer to as a reimbursement         2      Q Was she working for Baxter?
 3   rate.                                                      3      A I don't know. Maybe she's working for
 4      Q Okay. When did this communication take                4   Baxter now, I don't know.
 5   place?                                                     5      Q I just want to know the woman's name.
 6      A Again, I can't remember exactly date, it's            6      A Deana Presbella.
 7   been so long. It has to be between 2002 and 2003 when      7      Q And who did she work for?
 8   we were setting the Advate price.                          8      A Worked for the pricing group particularly
 9          So Nick scheduled a meeting with me, him,           9   reporting to me.
10   and Larry Guiheen, which was very high level because      10      Q Was she an individual consultant, or did she
11   he was almost kind of like the CEO of this division.      11   work for another company?
12   He brought me in and said he seems to be aware of the     12      A She was an individual consultant.
13   problem and he said, but U.S. sales and marketing         13      Q Okay. And what did you rely upon her for,
14   didn't want you to investigate, to stay away from it.     14   what kind of information?
15      Q So when did you first come to understand             15      A Modeling work, database management, you
16   that First Data Bank was increasing prices by 25          16   know, some kind of a follow-up work she did for me.
17   percent?                                                  17      Q Were you aware that Baxter also contacted
18      A A few months after I arrived at Baxter. I            18   First Data Bank and told them not to raise their price
19   subscribed to First Data Bank, that database, and also    19   by 25 percent?
20   had the Redbook which was a print copy of AWP prices.     20      A That I don't know.
21      Q So you compared --                                   21      Q You never heard that while you were there?
22      A The two.                                             22      A Uh-huh.

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 1      Q -- Redbook against --                                 1       Q If that were true, then, is Baxter at fault
 2          MR. UDDEN: You've got to let him finish             2   at all under your theory as expressed in Exhibit 3?
 3   because otherwise when you see the record, it will be      3       A I wouldn't make a comment on that because
 4   very -- so try and let him finish the question before      4   that's really a judgment whether that's right or
 5   you answer.                                                5   wrong.
 6      Q So in order to do this evaluation, you                6       Q But if that's true --
 7   compared the data published in Redbook to the data         7       A But the fact that I noticed it, there was a
 8   published by First Data Bank and you determined that       8   huge discrepancy between the two databases. And
 9   there's a 25 percent increase?                             9   payors used the First Data Bank more than the Redbook.
10      A Uh-huh.                                              10   And also what Larry Guiheen told me, to stay away from
11      Q Is that correct?                                     11   that.
12      A Yes.                                                 12       Q And what year was this again?
13      Q You also mentioned your consultant was               13       A Either the end of 2002 or the beginning of
14   involved in this communication with First Data Bank?      14   2003.
15          Yes?                                               15       Q And by that time there had been lots of AWP
16      A Yes.                                                 16   lawsuits filed, correct?
17      Q Who was that?                                        17       A Not particular to First Data Bank increase
18          THE WITNESS: Am I allowed to share that            18   another 25 AWP, there was none there. It's very
19   information, or --                                        19   unique to Baxter.
20      Q Yes.                                                 20       Q Did First Data Bank not increase anyone
21          MR. UDDEN: Who was the consultant working          21   else's prices by 25 percent?
22   for?                                                      22       A No, uh-huh.


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 1      Q So it's just First Data Bank's actions that           1   Baxter.
 2   are part of your -- that's what you're complaining --      2      Q How about, you mentioned -- in your
 3      A Not just. You know, to provide spreads,               3   Complaint you referenced in fact the litigation
 4   kind of economic incentives to home care providers to      4   against TAP. Do you remember that?
 5   increase market share is wrong to begin with.              5      A Yes.
 6      Q So that's one argument, right?                        6      Q Okay. And you said in your Complaint that
 7      A Yes.                                                  7   your understanding of the AWP was informed by what
 8      Q You've said that creating spreads is wrong;           8   happened in the TAP case.
 9   that's your position?                                      9      A The TAP case has some kind of similarity but
10      A Right.                                               10   not to that extent.
11      Q But you knew about those lawsuits when you           11      Q Why? Why does it have a similarity?
12   were at Bayer, when you were at --                        12      A Because some doctors' office, very few of
13      A They are different. They're very different.          13   them probably do, you know, buy the drug and get
14      Q Why?                                                 14   reimbursement like Baxter situation. But Baxter
15      A I was talking to very different market               15   almost hundred percent market is like that. You know,
16   situations.                                               16   TAP, I think for some drugs, it may be administered in
17          THE WITNESS: I don't know whether I should         17   the hospital and doctors can get the drug and give to
18   elaborate on that, but --                                 18   the patient and get reimbursed for.
19      Q Yes, I'm asking you why.                             19      Q Wasn't TAP a chemotherapy that was
20      A Okay. For example, J&J, they have retail             20   reimbursed in the doctor's office?
21   markets so there's no middleman. Home care is really      21      A Not all the products. If it's oral it's
22   a middleman. You know, usually if you have                22   not, and if it's retail drug it's not.

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 1   cholesterol, doctor give you a script, you go to           1      Q How about if it's an injection?
 2   retail pharmacy, you get your script, and retail           2      A Probably if it's an injection, but --
 3   pharmacy get reimbursed from the insurance company,        3      Q So that would be the same model, right?
 4   okay? They do have a little margin that is service         4      A No.
 5   administration fee.                                        5      Q Why?
 6          But it's not, not the same thing for                6      A It's hospital. It's home care. It's
 7   hemophilia patients. They go to doctor, doctor give        7   different. Home care is almost served as a pharmacy,
 8   them a script, but home care go and buy that script,       8   not a hospital.
 9   okay, and they get reimbursed. So they buy at lower        9      Q But again, the doctor's office, again, you
10   price and get reimbursed at higher price. So they get     10   referenced the Lupon (phonetic) litigation in your
11   much, much bigger kind of margin than the retail          11   Complaint, right?
12   pharmacists, okay, because they also relate to those      12      A I don't know. I don't remember the
13   doctors they can, you know, make profits on those         13   Complaint. I don't really know. I can't remember
14   patients and the reimbursement, but not the retail        14   now. But when you talk about it may have some
15   market. You go there, you know, the doctors -- the        15   similarity but I don't think it's exact. Home care
16   providers actually don't get involved in reimbursement    16   situation is very unique to this market. Hemophilia
17   so there's no incentive for doctor to write you a         17   patients.
18   script.                                                   18      Q Let's take a look at Deposition Exhibit 10.
19      Q Were there any AWP cases that you're aware           19         In Paragraph 2 --
20   of while at J&J or at Amgen where doctors actually        20      A Paragraph 2.
21   were paid a reimbursement for a particular drug?          21      Q -- it says, Baxter controlled and published
22      A No. It's a very unique situation for                 22   AWP by misreporting the WAC. Can you explain to me


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 1   what that means?                                         1      Q But you immediately, when I asked the
 2       A Usually when you report to First Data Bank,        2   question, turned to -- or started to turn to Mr.
 3   you are supposed to specify whether that's a WAC or      3   Hamilton's Declaration.
 4   that's an AWP. If it's a WAC, they put 25 percent on     4      A Yeah, that was -- there was one sentence
 5   top of that. If it's AWP, they'll keep it as it is,      5   there, too.
 6   okay? So there's a 20 (sic) percent kind of an           6      Q So there was something in Mr. Hamilton's
 7   increase to generate this AWP.                           7   Declaration that was going to help you explain your
 8          And the -- Baxter obviously reported to the       8   answer?
 9   First Data Bank as a list, you know, on its list.        9      A Yeah. You want me to do that?
10   It's neither WAC nor AWP, right?                        10      Q Yeah, can you find that?
11       Q So did -- what is WAC?                            11           MR. UDDEN: That's not in that document,
12       A WAC is weighted average -- oh, I can't            12   that's in --
13   remember. Maybe weighted average cost, or wholesale     13      A In the memorandum, yeah. This one,
14   average cost. Wholesale average cost.                   14   Exhibit 3.
15          MR. UDDEN: Here, (indicating).                   15           MR. UDDEN: I think it's Exhibit 2
16       A Yeah, wholesale acquisition cost.                 16   actually -- no, maybe Exhibit 3.
17       Q So did Baxter report a wholesale acquisition      17      A Yeah, Exhibit 3. And it's, it's Page -- 29
18   cost to First Data Bank?                                18   is mine.
19       A No, they reported list obviously in the, in       19           (Reviewing.)
20   the Declaration by Greg.                                20           No, this is all mine, not Greg.
21       Q So they did not report --                         21      Q Let me show you what's been marked as
22       A No, they reported list. That's why First          22   Deposition Exhibit 11.

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 1   Data Bank had fight with them because by law they're     1         (Exhibit 11 was marked for identification
 2   supposed to add 25 percent on wholesale acquisition      2   and was attached to the transcript.)
 3   cost reported by the company.                            3      A Yeah, that's Greg, right.
 4      Q Who's supposed to add 25 percent by law?            4   BY MR. JACKSON:
 5      A First Data Bank.                                    5      Q Deposition Exhibit 11 is a Declaration of
 6      Q According to what law?                              6   Greg Hamilton. Have you seen that before?
 7      A There's a law, obviously. I think early on          7      A Yes.
 8   First Data Bank -- there's a document -- I don't         8      Q So you were getting ready to reference --
 9   remember when I saw it -- saying, you know, beginning    9   you were just getting ready to answer my question
10   from 2000, year 2000 First Data Bank is supposed to     10   based upon Mr. Hamilton's Declaration.
11   keep -- to take the WAC from companies and add 25       11      A Yeah. There were other documents, and in
12   percent to generate this AWP for reimbursement.         12   the conversation between me and First Data Bank as
13      Q And what document are you referring to?            13   well. I don't have anything in writing. I was at the
14      A No, it's not in here, but if you look at           14   time doing research and investigation myself.
15   Greg's deposition --                                    15      Q And you're researching this issue yourself?
16          MR. UDDEN: No, he's just asking you. You         16      A Yeah, like a discrepancy between First Data
17   referred to a document. If you can just describe the    17   Bank and the Redbook, okay? And if you look at Page 2
18   document you're talking about.                          18   on Greg's Declaration --
19          That's what you're asking, right?                19      Q You're referencing now Deposition
20      A Yeah, I don't have the document here, but          20   Exhibit 11?
21   based on the conversations and all of that with First   21      A Yes. Page 2.
22   Data Bank.                                              22      Q Yes.


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 1      A Paragraph 8.                                         1       Q Okay.
 2      Q Yes.                                                 2       A And the good news for Baxter then is we even
 3      A And you have here, somewhere in the middle,          3   have a higher margin than our competitors because, you
 4   she told me that Baxter sent a letter saying that list    4   know, it's 1.31 plus 25 percent, and the selling price
 5   price was $1.31 and they wanted the AWP reported as       5   is 81 cents, for example. And most of the home care
 6   $1.31, but First Data Bank couldn't do that.              6   providers, they would refer, you know, they would look
 7      Q So your answer to me is based upon your              7   at the -- they would print out actually those AWP
 8   review of Mr. Hamilton's Declaration which is based       8   prices from First Data Bank.
 9   upon recitation of information that he was provided by    9       Q How do you know that?
10   Kaye Morgan at First Data Bank, correct?                 10       A The marketing people told me, and I knew
11      A No. I was aware of that even when I was             11   that for a fact because I've been doing pricing
12   doing the investigation.                                 12   research so long.
13      Q And how did you become aware of that?               13       Q Did you talk with someone at the home health
14   Someone at First Data Bank told you that?                14   care companies?
15      A Yes.                                                15       A No, I didn't. But Julia, for example, she
16      Q Who?                                                16   was a product manager for ARALAST, and when -- I was
17      A A woman. I don't remember the name now.             17   strongly against this kind of margin thing and said,
18      Q How many different people did you talk to at        18   you know, people should really use the drug based on
19   First Data Bank?                                         19   clinical needs and clinical benefits. She said,
20      A Two.                                                20   Linnette, you don't know because you should see, they
21      Q A man and a woman?                                  21   posted all those things on the wall, and you should
22      A At least two.                                       22   really go to the field and see how they do those kinds


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 1         Man and woman.                                      1   of things. It's all economic incentive.
 2      Q How many different times did you call them           2      Q Who was that that you were talking to?
 3   as part of your investigation?                            3      A Jill was one of them, Ken, like the two
 4      A I can't remember exact how many times but I          4   Marketing Directors.
 5   think quite a few. And Deana, my consultant, called       5      Q Jill's last name, please?
 6   as well. We were both upset about the situation.          6      A Kademos? I can't remember.
 7      Q Does she still work for Baxter, do you know,         7         And Julia, again.
 8   Deana?                                                    8      Q Julia?
 9      A I don't know. No, I don't know.                      9      A Julia, yeah.
10      Q Have you spoken with her at all in                  10      Q What's her last name?
11   connection with this case?                               11      A I don't remember.
12      A I don't think so.                                   12      Q Okay. These are Baxter personnel?
13      Q And when did you first learn that Baxter            13      A These are Baxter. If you ask them who the
14   reported a list price?                                   14   product managers or directors at the time, they should
15      A When did I learn?                                   15   know.
16      Q Yes.                                                16      Q Now, in your discussions with First Data
17      A At the time of the investigation.                   17   Bank regarding this, which drugs did you talk to them
18      Q So again, from your investigation and your          18   about?
19   discussion with First Data Bank, that was the first      19      A I didn't talk to them -- I don't think I
20   time you learned that Baxter had reported a list         20   talked any -- about any specific product because they
21   price?                                                   21   had this 25 percent jack-up for all products, so --
22      A Yeah.                                               22      Q First Data Bank did?


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 1      A Right.                                               1   providers.
 2      Q And was it just Baxter products, or all              2      Q Well, but in Paragraph 51 you refer to a
 3   products?                                                 3   contract, only one such contract.
 4      A Just Baxter products.                                4      A No, no, it's more than one.
 5      Q Okay.                                                5      Q So the allegation here is wrong?
 6      A Yeah. I have been in this industry for 10            6      A It's like about these contracts. Why there
 7   years, worked for many products in the pricing            7   was only one you said?
 8   numerous times, and I have never seen this thing with     8      Q I'm referencing, Ms. Sun, Paragraph 51.
 9   any other company. I was also consultant to quite a       9      A Yeah, 50 --
10   few companies, yeah.                                     10      Q The third sentence says, Ms. Sun had the
11      Q And you had never seen --                           11   opportunity to see only one such contract which was
12      A No.                                                 12   passed from hand to hand at a pricing meeting in April
13      Q -- First Data Bank mark up anyone else's --         13   2003.
14      A No.                                                 14         MR. UDDEN: He's asking about that
15      Q And you don't remember who you spoke with at        15   particular contract.
16   First Data Bank?                                         16      A An example.
17      A No. It's been like seven years.                     17      Q I'm asking about that contract.
18      Q Have you turn to Paragraph 39 of Deposition         18         MR. UDDEN: And what was the question again?
19   Exhibit 10. It's on Page 14.                             19      Q Did you see only one contract that had a
20      A (Complying.)                                        20   VCC, only one?
21      Q Paragraph 39 says, according to your                21      A I can't remember. You know, again, this is
22   knowledge obtained by Relator Greg Hamilton, FDB         22   in 2003, one of the meetings. I had numerous

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 1   refused to accept Baxter's list price and instead         1   meetings, meetings back-to-back then. You know, I
 2   submitted a letter stating that their list price was      2   can't remember exactly what --
 3   1.31 and they wanted their AWP to be described as         3      Q So you can't tell me now whether you saw one
 4   1.31. Do you see that?                                    4   or more than one?
 5      A Yes.                                                 5      A Yeah, I can't tell you.
 6      Q Have you had any conversations with Mr.              6      Q Do you remember any particular company's
 7   Hamilton about his conversation with First Data Bank?     7   name with whom -- you saw?
 8          MR. UDDEN: And again, other than                   8      A I don't know which one I saw, but Caremark
 9   conversations that would involve your lawyers.            9   was one of the things that were mentioned, were
10      A No.                                                 10   discussed.
11      Q Do you remember ever speaking with Kaye             11      Q What's Caremark?
12   Morgan at First Data Bank?                               12      A It's a home care name.
13      A I spoke with a woman, but I don't remember          13      Q So do you believe you saw a contract with
14   the name.                                                14   Caremark, or you're just guessing right now?
15      Q Okay. Have you turn to Paragraph 49.                15      A I'm not so sure.
16      A (Complying.)                                        16         MR. JACKSON: Let's go off the record.
17      Q You reference in Paragraph 51 and in 49 and         17         (Discussion off the record.)
18   50 as well a volume committed contract. Do you           18         (Luncheon recess taken at 12:00 p.m.)
19   remember which volume committed contract you were        19         AFTERNOON SESSION (1:03 p.m.)
20   referring to here?                                       20   BY MR. JACKSON:
21      A I can't remember the exact contract names.          21      Q Ms. Sun, can I have you turn to Page 13 of
22   I think they were like the top maybe six home care       22   the Complaint in this case which is Exhibit 10.

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 1      A (Complying.)                                         1       A I think so.
 2          Page 13?                                           2       Q You think so, or you did?
 3      Q Yes.                                                 3       A I did.
 4          Paragraph 36 contains a great deal of              4       Q Okay.
 5   information regarding unit pricing, et cetera. Do you     5       A (Shrugging shoulders.)
 6   see that language in Paragraph 36?                        6       Q And where did you get this information?
 7      A Yes.                                                 7       A First Data Bank publishes 1.62.
 8      Q Did you provide this information to the              8       Q Okay.
 9   Complaint?                                                9       A That part. I don't remember exactly whether
10      A I can't remember exactly, it's been so long,        10   1.30 was in there or not. You know, sometimes they
11   but I'm well aware of this information. I knew this      11   just publish AWP, not a WAC, so -- sometimes both. So
12   information for a fact.                                  12   it's been some time now. I couldn't remember exactly.
13      Q How did you find the pricing information            13    But at the time provide this 1.30 it was always -- it
14   contained in Paragraph 36? Where did you go to find      14   was also fresh in my mind because I just left the
15   that information?                                        15   company. I know what they reported. I know what they
16      A I guess the AWP, you can get it online.             16   reported.
17      Q Okay.                                               17       Q But you'd left the company nearly three
18      A You know, First Data Bank and Redbook, AWP          18   years before this, correct?
19   sometimes is published.                                  19       A No, it's -- no, two, about two, yeah. I --
20      Q You'll see the phrase, quote, Baxter has            20   sometimes I have very good memory because I'm doing
21   reported to FDB that the WAC for Recombinate is 1.30     21   economics and pricing.
22   per unit, closed quote. Do you see that?                 22       Q Yeah, I understand. Absolutely.


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 1      A Yes.                                                 1      A Yeah.
 2      Q Do you know where that data came from?               2      Q I just wanted to make sure that you provided
 3      A First Data Bank.                                     3   this information, or if you didn't, I wanted to try to
 4      Q So you believe that First Data Bank                  4   understand where the information came from.
 5   published a WAC for Recombinate as a dollar-thirty?       5      A Uh-huh.
 6      A Yes, and then added 25 percent on top of             6      Q Okay. And did you also provide the
 7   that, so it became 1.62.                                  7   information contained in this paragraph about an
 8      Q So do you believe that you provided this             8   actual acquisition cost of 89 cents per unit?
 9   information, or did you take the 1.6250 and back out      9      A I think I was part of that, but Greg was
10   the 25 percent?                                          10   also there.
11      A I don't think it really matters.                    11          THE WITNESS: Right?
12      Q It does matter to me, Ms. Sun. It matters           12      Q Greg was also where?
13   to me because I'm trying to determine where the          13      A Greg was also generating all those prices
14   information came from. So did you know this data --      14   with me.
15      A Uh-huh.                                             15      Q You think Greg may have had some input to
16      Q -- the $1.30, the $1.6250, the so-called            16   this paragraph?
17   spread --                                                17      A Yeah, too.
18      A Uh-huh.                                             18      Q Do you know where he got his information?
19      Q -- the payments, did you provide this               19      A I'm not so sure, but he's been in the field
20   information to the Complaint?                            20   for a long time, so --
21      A Yes, I did.                                         21      Q So it's possible that you and he
22      Q Okay.                                               22   collaborated on the data that's contained in this

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 1   paragraph?                                                 1   BY MR. JACKSON:
 2      A I would say it's possible.                            2      Q Ms. Sun, let me show you two Exhibits,
 3      Q You just don't remember?                              3   Deposition 12 and Deposition 13.
 4      A I remember some, but not like for sure, like          4         (Exhibit 13 was marked for identification
 5   a hundred percent.                                         5   and was attached to the transcript.)
 6      Q How about in Paragraph 37 on the next page            6   BY MR. JACKSON:
 7   of Exhibit 10, did you provide the data in that            7      Q Let me first refer you to the letter that is
 8   paragraph regarding 85 percent (sic) of AWP or actual      8   Deposition Exhibit 12. You see that letter dated
 9   acquisition cost?                                          9   April 22, 2005?
10      A Uh-huh.                                              10      A Yes.
11      Q You remember that you provided this, or was          11      Q You ever seen this document before?
12   this collaborative as well?                               12      A (Reviewing.)
13      A I'm not so sure whether Greg had some input          13         I really can't remember. You know, that
14   as well, but that was my information as well.             14   happened in 2005. I've seen so many documents since
15      Q Let me have you turn to Paragraph 39 then.           15   the case was filed.
16      A Uh-huh.                                              16      Q Can you look at Deposition Exhibit 13,
17      Q Paragraph 39 reads as follows: According to          17   please?
18   knowledge obtained by Relator Greg Hamilton, FDB          18      A Uh-huh.
19   refused to accept Baxter's list price and instead         19      Q I'll represent to you, Ms. Sun, that
20   submitted a letter stating that their list price was      20   Deposition Exhibit 13 is Exhibit 1 referenced in
21   $1.31 and they wanted their AWP to be described as        21   Deposition Exhibit 12, and was produced to us by Mr.
22   $1.31, closed quote. Do you see that?                     22   Kleiman. Have you ever seen this document before,

                                                         142                                                            144
 1       A Yes.                                                 1   Exhibit 13?
 2       Q Is it possible that $1.31 in the paragraphs          2       A I don't remember.
 3   that we've been looking at or the $1.30 came from Mr.      3       Q Do you remember creating this document?
 4   Hamilton and not you?                                      4       A I've -- I think I've seen some of the
 5       A It should come from both of us, yeah,                5   numbers, but I don't remember specifically the numbers
 6   because I was well aware of this information when I        6   in this format.
 7   was at Baxter.                                             7       Q Did you create this document? Do you
 8       Q Do you know why Paragraph 39 says that               8   believe that you created this document?
 9   according to information obtained by Hamilton and does     9       A I don't remember.
10   not mention your name?                                    10       Q You'll note in Exhibit 12, Ms. Sun, this is
11       A My 1.31 was already in Paragraph 36, so he          11   an April 22, 2005 letter from Mr. Kleiman to the
12   kind of confirmed what I said.                            12   Attorney General and Michael Tice, who's an Assistant
13       Q All right. So you believe he confirmed              13   United States Attorney in Denver. Do you see that?
14   this --                                                   14       A Uh-huh.
15       A Yeah, I think so.                                   15       Q The first sentence says, quote, I am pleased
16       Q -- based upon talking with First Data Bank;         16   to forward to you the Complaint along with this
17   is that what you think?                                   17   statement disclosing all material evidence, period,
18       A That's what I think, but I don't know               18   closed quote. Do you see that?
19   whether that's actually he did or --                      19       A Yes.
20       Q Okay. Thank you.                                    20       Q Do you believe that by this time you had
21           (Exhibit 12 was marked for identification         21   provided the binder that you said you had and provided
22   and was attached to the transcript.)                      22   to your lawyer but I don't believe we'd received? Do


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 1   you believe you had provided that to Mr. Kleiman by       1         Have you ever seen this draft Complaint
 2   that time?                                                2   before?
 3      A Again, don't remember. It's not the                  3      A I may have, but I can't remember exactly
 4   beginning of the, you know, the case, but I don't         4   whether that's the draft I've seen.
 5   know. But it was provided sometime later, after the       5      Q Did you draft this document?
 6   Complaint.                                                6      A Did I draft -- write?
 7      Q It was provided to Mr. Kleiman after the             7      Q Yes, did you write it?
 8   Complaint?                                                8      A No.
 9      A Yeah, I think so. Maybe at the Complaint.            9      Q Again, Ms. Sun, I'll represent to you Mr.
10   I don't remember for sure, but it was some time ago.     10   Kleiman provided us this document on January 4, 2010.
11      Q You'll see that the letter talks about all          11      A So that's quite recent, then.
12   material evidence and -- but includes only two           12      Q Yes, it is.
13   documents --                                             13         Now, can I have you compare, please, the
14      A Yeah.                                               14   Complaint in this matter, which is Exhibit 10 -- have
15      Q -- the AWP summary that is Exhibit 13 and           15   you pull that out --
16   then the Plasma Fractions Market document that we've     16      A Yes.
17   previously marked as Deposition Exhibit 6. Do you see    17      Q -- and turn to Paragraphs 53 through 61.
18   that?                                                    18         MR. UDDEN: Page 18.
19      A Yeah, I see that.                                   19      A 22 -- so this is 18?
20          So it could be like I have forwarded to Mark      20         MR. UDDEN: You're on Exhibit 10?
21   Kleiman. Maybe he didn't share this, he didn't use       21         MR. JACKSON: Page 10 of Exhibit 18.
22   this as one of the supporting evidence. I just don't     22         MR. UDDEN: Page 18 of Exhibit 10?

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 1   want to speculate on this what happened.                  1          MR. JACKSON: Page 18 of Exhibit 10,
 2      Q Okay. So to your knowledge, this is the              2   correct.
 3   only supporting evidence that was provided to the U.S.    3      A Okay.
 4   Attorney's Office?                                        4          MR. UDDEN: You have those?
 5      A I don't know because I didn't get -- I               5   BY MR. JACKSON:
 6   wasn't engaged in any conversation with him --            6      Q You see those allegations called Baxter's
 7      Q Okay.                                                7   conduct violated the Federal Medicaid Program's Rebate
 8      A -- or communication.                                 8   and Best Price Reporting Requirements. Do you see
 9      Q Let me show you what's been marked as                9   that?
10   Deposition Exhibit 14.                                   10      A Yeah.
11         (Exhibit 14 was marked for identification          11      Q Can I now have you turn to Page 22 of
12   and was attached to the transcript.)                     12   Exhibit 14, the draft Complaint that I just showed
13      A Okay.                                               13   you.
14   BY MR. JACKSON:                                          14      A 22, okay.
15      Q Deposition Exhibit 14 is a draft                    15      Q You will note that the Rebate and Best Price
16   Complaint --                                             16   Reporting Requirements of the Complaint are not in the
17      A Draft Complaint.                                    17   draft Complaint. Do you see that?
18      Q -- with your name and Mr. Hamilton's name.          18      A I haven't read the whole thing, but I just
19      A So this was after this Complaint, Exhibit           19   have to believe you.
20   10?                                                      20      Q Well, feel free to take the time and compare
21      Q This was recently produced to us by Mr.             21   the two and see if you can find the rebate and best
22   Kleiman.                                                 22   price allegations in the draft Complaint.


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 1       A Okay.                                                1      A (Complying.)
 2         (Reviewing.)                                         2          Okay.
 3         Okay.                                                3      Q See the note in the bottom in bold that
 4       Q Did you make a decision to add those                 4   says, how do we work in volume committed contracts as
 5   allegations to this Complaint, you personally?             5   a kickback?
 6       A You mean remove, or add?                             6          MR. UDDEN: You're -- 24, the next page.
 7       Q Add. It wasn't in the draft, it was in the           7      Q Page 24.
 8   Complaint that was filed.                                  8          MR. UDDEN: (Indicating.)
 9       A Oh, this was like 2005, and this was like            9      Q You see that?
10   2010.                                                     10      A Uh-huh.
11         MR. UDDEN: No.                                      11      Q Did you draft that?
12       Q Ms. Sun, Exhibit 14, which is the draft             12      A You mean write, right?
13   Complaint just produced to us by your counsel --          13      Q I mean write.
14       A Uh-huh.                                             14      A No.
15       Q -- Mr. Kleiman, has a date on it of January         15      Q Do you know who did write that?
16   5, 2010. That probably is when he printed it. But he      16      A One of the counsels I would believe.
17   has represented to us that that was a draft Complaint     17      Q But again, you believe that, do you know who
18   that was prepared in advance of the Complaint that is     18   wrote that?
19   Exhibit 10.                                               19          THE WITNESS: Laurel or Mark?
20       A Okay. I see. Now I understand.                      20      A I don't know which attorney.
21       Q So now, referring to Exhibit 10, the rebate         21      Q Now, on the same draft Complaint, if you
22   and best price reporting allegations, did you make the    22   turn to Page 21. Again, this is Exhibit 14. You see

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 1   decision to add those allegations to this Complaint?       1   the language of Paragraph 48 it says, quote, Ms. Sun
 2       A That was in 2005, right, the decision to add         2   is informed and believes and based thereon alleges
 3   that?                                                      3   that. Do you see that language?
 4       Q When the Amended Complaint was filed. It             4          MR. UDDEN: Right here, (indicating).
 5   was filed in 2005.                                         5       A Yes.
 6       A Yeah. Again, I can't -- there have been              6       Q That language was removed from the Complaint
 7   quite a few -- there were quite a few discussions          7   that was eventually filed which is Exhibit 10. Did
 8   between me and the counsel.                                8   you remove that language, is informed and believes?
 9       Q Okay.                                                9       A Did I remove the language?
10       A So we discussed many things about, you know,        10       Q Yes, ma'am.
11   lots of information even after the Complaint. So I        11       A Personally?
12   don't remember whether it was me who wanted to add        12       Q Yes, ma'am.
13   this or it was someone else.                              13       A No.
14       Q I see. So you don't remember whether it was         14       Q Did you express concern that you would not
15   you, or Mr. Hamilton, or somebody else?                   15   be able to say that you had knowledge or belief
16       A Right, right.                                       16   regarding volume committed contracts?
17       Q You just don't remember?                            17       A I don't remember doing so.
18       A Right, I just don't remember. I remember            18       Q Have you ever looked at the statutory cite
19   all these discussions going back and forth between the    19   there, 42 US 1396r-8(C)? You ever looked at that?
20   attorneys and me and Greg.                                20       A That U.S. statute?
21       Q Can I have you turn on Exhibit 14 to                21       Q Yes.
22   Page 24?                                                  22       A I think -- I've seen lots of statutes, but I

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 1   don't remember the number.                                1   knowledge of what Baxter provided to CMS?
 2      Q Okay. Do you have actual knowledge of the            2      A Again, like Michael Bradley would update the
 3   information that Baxter reported to the Government        3   core pricing group what was Baxter's AMP. He
 4   regarding products that are named in the Complaint,       4   actually, if I have access to my E-mail. Then he
 5   particularly with regard to how AMP and BP is             5   actually circulated a document, AMP's for each
 6   calculated?                                               6   different states and each different plan. I don't
 7      A It's a pretty long sentence. Can you                 7   actually calculate those things. I don't believe they
 8   repeat?                                                   8   should be calculated. They should be surveyed and
 9          MR. JACKSON: Could you read that back?             9   reported to, the lowest price to the Government.
10          (Record read.)                                    10      Q And it should be surveyed by whom, a third
11          MR. UDDEN: I just want to object to the           11   party?
12   question as vague and ambiguous because you're talking   12      A Yeah, usually by a third party.
13   about reporting and then you're talking about            13      Q And would that mean the Government, or
14   calculating.                                             14   someone other than the Government?
15          So do you understand the question?                15      A Yeah, the Government contracts some
16      Q Go ahead and answer the question.                   16   companies. Michael Bradley should know that, know how
17          MR. UDDEN: If you can understand it.              17   many major payors they would survey and how they
18      A I don't understand the question. It's               18   derive -- there's a formulary kind of published by
19   confusing to me.                                         19   CMS.
20      Q Is it because you quarrel with the notion           20      Q Again, I'm trying to understand what your
21   that anything is calculated?                             21   knowledge is, not what Michael Bradley's knowledge is,
22      A That's one of them.                                 22   okay? So I'm trying to understand what you're basing


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 1      Q Okay. What's the other reason you quarrel            1   your allegations of the Complaint on.
 2   with it?                                                  2          It sounds as if Mr. Bradley circulated to
 3      A Again, I don't fully understand the                  3   you documents relatively routinely that included data
 4   sentence.                                                 4   regarding AMP and BP?
 5      Q Okay. I'm trying to understand the breadth           5       A Yeah, right.
 6   of your knowledge --                                      6       Q Do you believe that that information that
 7      A Okay.                                                7   Mr. Bradley circulated was wrongful or inaccurate in
 8      Q -- regarding the information that Baxter             8   any way?
 9   gave to Government agencies, particularly CMS -- do       9       A Inaccurate.
10   you know what CMS stands for?                            10       Q And how was it inaccurate?
11      A Yes, of course.                                     11       A Because I had all those -- I had access to
12      Q What?                                               12   all the pricing information, you know, market
13      A It's the Medicare, you know, payors, the            13   research, sales data we have, and I compared his sale
14   Government, how they do Medicare and Medicaid. In        14   and AMP to market prices and they're higher.
15   most cases it's the reimbursement. It's the, you         15       Q And the documents that you were using to
16   know, central Government, biggest payor, the Medicare    16   compare, is that in the notebook that I haven't yet
17   program.                                                 17   seen?
18      Q So I'm trying to understand your direct             18       A That's one of them.
19   knowledge of the information that Baxter provided to     19       Q But you don't have any other documents in
20   CMS regarding best price, okay?                          20   your personal possession that would help me reengineer
21      A Uh-huh.                                             21   the analysis that you undertook; is that correct?
22      Q So what can you tell me about your actual           22       A I don't have anything in my personal

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 1   possession, but Simon-Kucher price information should      1          MR. UDDEN: Great.
 2   be helpful to you if you can get a copy from Baxter.       2          MR. JACKSON: Anything else you need to
 3      Q Okay.                                                 3   clear up or clarify about any of these Exhibits
 4          MR. JACKSON: Let's go off the record for a          4   besides Exhibit 6?
 5   second.                                                    5          THE WITNESS: That's the only thing I want
 6          (Discussion off the record.)                        6   to clarify right now.
 7          MR. JACKSON: Ms. Sun, you've indicated that         7          MR. JACKSON: Okay. Subject to the same
 8   there may have been documents that are in your             8   reservation, we can suspend this deposition.
 9   possession or your counsel's possession that we've not     9          (Signature having not been waived, the
10   yet received. If in fact we need to get additional        10   examination of Linnett Sun was concluded at
11   documents, we might have to ask additional questions      11   1:31 p.m.)
12   that relate to jurisdiction. So we are leaving this       12
13   deposition open on that basis, reserving our right, to    13
14   the extent you have not produced jurisdictional           14
15   documents, that we can ask you questions about those      15
16   documents.                                                16
17          Subject to that reservation of rights, I           17
18   have no further questions at this time.                   18
19          MR. UDDEN: I have no questions.                    19
20          Go off the record for a moment.                    20
21          (Discussion off the record.)                       21
22          MR. JACKSON: We should go on the record if         22

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 1   you want to correct something.                             1            ACKNOWLEDGMENT OF DEPONENT
 2          THE WITNESS: I just want to give you                2       I, Linnette Sun, do hereby acknowledge that I
 3   information. This probably is not mine, it's Greg          3   have read and examined the foregoing testimony, and
 4   (indicating).                                              4   the same is a true, correct and complete transcription
 5          MR. JACKSON: Let's go ahead get back on the         5   of the testimony given by me, and any corrections
 6   record.                                                    6   appear on the attached Errata sheet signed by me.
 7          Ms. Sun, at the end of our discussion you           7
 8   indicated, or you thought you might indicate you had       8
 9   some more -- additional information and you're             9   ______________________ ______________________
10   pointing to Exhibit 6. What is it you wanted to tell      10      (DATE)           (SIGNATURE)
11   me?                                                       11
12          THE WITNESS: What I want to tell you, after        12
13   I kind of review briefly on this, this probably is a      13
14   copy Greg Hamilton can purchase from like a more          14
15   pharmacy program. But it was specific to Baxter, the      15
16   one specific to Baxter, the one I have I think have       16
17   more Baxter-related, more Baxter-needed information.      17
18          MR. JACKSON: And again, you're going to get        18
19   that information, and we'll make a formal request.        19
20   Send the letter to you, or Mr. Kleiman?                   20
21          MR. UDDEN: Could you send it to both of us?        21
22          MR. JACKSON: Sure, of course.                      22


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 1    CERTIFICATE OF SHORTHAND REPORTER/NOTARY PUBLIC                1          ERRATA SHEET
 2      I, Dawn M. Hart, Registered Professional                     2      IN RE: Pharmaceutical Industry AWP Litigation
 3   Reporter, the officer before whom the foregoing                 3   PAGE LINE CORRECTION AND REASON
 4   proceedings were taken, do hereby certify that the              4   ____ ____ ______________________________
 5   foregoing transcript is a true and correct record of            5   ____ ____ ______________________________
 6   the proceedings; that said proceedings were taken by            6   ____ ____ ______________________________
 7   me stenographically and thereafter reduced to                   7   ____ ____ ______________________________
 8   typewriting under my supervision; and that I am                 8   ____ ____ ______________________________
 9   neither counsel for, related to, nor employed by any            9   ____ ____ ______________________________
10 of the parties to this case and have no interest,                10   ____ ____ ______________________________
11 financial or otherwise, in its outcome.                          11   ____ ____ ______________________________
12      IN WITNESS WHEREOF, I have hereunto set my hand             12   ____ ____ ______________________________
13 and affixed my notarial seal this 19th day of January            13   ____ ____ ______________________________
14 2010.                                                            14   ____ ____ ______________________________
15 My Commission Expires:                                           15   ____ ____ ______________________________
16 January 1, 2013                                                  16   ____ ____ ______________________________
17                                                                  17   ____ ____ ______________________________
18                                                                  18   ____ ____ ______________________________
19 ______________________                                           19   ____ ____ ______________________________
20 NOTARY PUBLIC IN AND FOR THE                                     20   ____ ____ ______________________________
21 STATE OF MARYLAND                                                21   _____________ ______________________________
22                                                                  22     (Date)       (Signature)

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